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  4       EXECUTIVE SESSION
  5       LEGISLATION TO PROTECT AMERICAN DATA AND
  6       NATIONAL SECURITY FROM FOREIGN ADVERSARIES
  7      THURSDAY, MARCH 7, 2024
  8       House of Representatives,
  9      Committee on Energy and Commerce,
 10      Washington, D.C.
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 15            The committee met, pursuant to call, at 10:36 a.m., in
 16      Room 2123, Rayburn House Office Building, Hon. Cathy McMorris
 17      Rodgers [chairwoman of the committee] presiding.
 18            Present:   Representatives Rodgers, Burgess, Latta,
 19      Guthrie, Griffith, Bilirakis, Bucshon, Hudson, Walberg,
 20      Carter. Duncan, Palmer, Dunn, Lesko, Pence, Crenshaw, Joyce,
 21      Armstrong, Weber, Allen, Balderson, Fulcher, Pfluger,
 22      Harshbarger, Miller-Meeks, Cammack, Obernolte. Pallone,
 _.,
 )'      Eshoo, DeGette, Schakowsky, Matsui. Castor, Sarbanes, Tonko,
 24      Ruiz, Peters, Dingell, Veasey, Kuster, Kelly, Soto, Schrier,
         and Fletcher.



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                   The Chair.
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                                  The committee will come to order.
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  ,                As a remi nd er to the members, we are now in a classified
  3       executive session.         The info r mation that we discuss here
  ~       should not be discussed outside of a secure locat i on.
  5                Our first witness is David Newman with DOJ . a~d then he
  6       will be followed by Jonathan with ODNI.
  7                Mr. Newman, you are recognized for 5 minutes.
  8                Mr. Newman .    Thank you.    Thank you very much.       Thank you
  9       to the chair and thank yo u to the ranking member --
                   The Chair.     Maybe pull the mike a l it tle closer.        Okay.
 11       Yeah.
 12                Mr. Newman.     Sorry.
 13                Thank you t o the chair and thank you to the ranking
 14       member for t aking up le gis latio n to fill c r itical gaps in our
 15       nationa l security.
 16                The Chair .    Yeah, st i ll it is hard to hear.       I don't
 17       know.      Can you pull the box closer to you maybe?           Ca n you
 18       pul l t he box, the whole box.         There we go .    There we go.        Try
 19       that .
 20                Mr . Newman.    Do you want me to go first or the IC
 21       briefer?      Which would be your pre f erence?
                   The Chai r.    What do you all think?
                   Mr . Newman.    I think Jonathan should go first .

 24                The Chair.     Okay. Jo nat han.   We a r e going to hear from
          Jon at han first with ODNI.        Okay, here we go.




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                Jonathan.
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  2             ODNI.     Sure.   Thanks.   Good morning, everybody.
                My name is Jonathan                  (ph).    I am the Dep u ty
  4       Director fo r Investment Security at the ODNI, and I look at
 .5       crit i cal techno l ogies, economic threats .      The group I lead
  6       looks at economic threats and risks to the Un i ted States for
  7       the ODNI on behalf of the intelligence community.            The
  8       briefing today for my remar ks will be the TS/SCI level .
  9       Thanks for having us.
 10             So, as I understand,                                         1111
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 12                                     The IC in that review of its
 13       intelligence focused on three broad categories of concern .
 14             The f i rst was command and control links between TikTok
 15       and the parent company ByteDance and PRC officials.            The
 16       second was on data co l lect i on risks in volving the platform.
 17       And the third was on PRC pl ans and in t ent i ons to try to both
 18       suppress content and conduct foreign i nfluence operations
 19       gl obally .
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 24             The IC's bottom line
         -        s that Tik Tok and the parent company ByteDance pose a




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          latent threat to U.S. national secu ri ty because Beijing ha s
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   ...,
          legal and economic leverage over these companies and .
   _.,,   therefore. sign i fican t potential leve rage over the i r
          operations.
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   5           The Chair.        Ta ke however mu ch time you need.         So you can
   6      slow down a li t tle bit
   7           ODNI.     Oh. sure.
   8           The Chair.        -- so the members can digest .         All right.
   9      That would be great.
  lO           ODNI.     Sure.     I was worried about the 5-minute rule,
 11       going over.
 12            The Chair.        I know.   Okay.     We will waive that fo r you .
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22             I am happy to ta ke questions.
              The Cha irman.   Thank you. Jonathan .
24            Next we wil l hear f rom Mr. Newman wi th the Department of
         Justice .




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                Mr. Newman.
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                               Th ank you.
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                                               Thank you to the chair, thank
                                                                                    10




   ,      you to the ranking member for taking up legislation to fill
   3      critical gaps in our national se curity authorities.
   4            In my role as the Principal Deputy Assistant Attorney
   5      General f or National Security at the Department of Justice, I
   6      conf ront on a daily basis the threats t hat you just heard
   7      that the People's Republic of China poses to the United
   8      States, to Americans.     And increasingly, as we have seen,
   9      that threat invo lve s the PRC's attempts to weaponize
  10      America 's data against us.        And TikTok and its parent company
  11      By teDa nce a re a case in poin t       and perhaps even Exhibit A
  12          in that story.
  13           Our intelligence community leade r s and our national
  14      security expe rts have warned and just reiterat ed that the
  15      parent company, ByteDance, presents a clear and present
  16      danger to our nat io nal security, a la te nt threat but a threat
  17      that cou ld be deployed

  18      -
  19           Fi rst, as you just heard, TikTok col lec ts vast amounts
 20       of personal data from the more than 170 mil lion Americans who
 21       actively use the platform ,
 22


 24            Second, PRC -- TikTok relies on a proprietary algorithm
          developed and maintained inside China to determine what




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          content to show and wha t content not to show to i ts American
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    8            To da t e, Depart ment of Ju stice leadership and other
    9     senior na tional secur i ty adm i ni st ration offic i al s have
 10       identified only one viable solution for th ese national
 11       secur i ty r isks.
  12             TikTok must be divested and so l d to a trusted buyer,
  13      severing the link that currently bind s Tik Tok to Bei jing and
 14       i t s PRC -based parent. ByteDa nce.
 15              I n addit i on, Ti kTok mu s t move the data t ha t Ti kTok
 16       coll ects about Americans and the develo pment of its a l gor it hm
 17       and sour ce code outside of China and to a trus ted l ocation .
 18              In response to that , TikTo k has publ i c l y offered a
 19       counterproposal, what it calls Project Texas.            Bu t , in our
 20       view, Project Texas would not ach i eve the nationa l secur ity
 21       objectives t ha t we have.
 22              Among other th ings , Pr oje ct Texas wou l d stil l allow
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 _.,      TikTok ' s algorithm, so urce code, and sof twa re dev elopment to
          remain in key measures in China, and it would allow Chinese
          employees and ByteD ance employe e s to conti nue to have




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          influence over TikTok ' s operations.
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                Last year, along with other officials from the
          Departme nt of Justic e and the Treas ury Depa rt ment, I
   4      personally told ByteDance's atto r neys that Project Texas was
   5      an inadequate solution.     And I made clear -- we a ll did --
   6      that the only solution that we have identified i s a sale of
   7      TikTok to a U.S. Government-app roved purc has er .
   8           But that has left us jn something of a legal standoff,
   9      because our current U.S. laws have gaps and lim i ts that have
 10       seriously hindered our ability to compel that result fro m the
  II      company.
  12           The executive branch current ly has two key authorities
  13      that have bee n used in t he past to try to force just this
  14      divestment of TikTok.     The first is the I nternational
  15      Economi c Emergency Powers Act, or IEEPA; and the second is
 16       our authorities under the Committee on Foreig n Investment in
 17       the United States.
  18           Bo t h of those author i t i es were invoke d first in the la st
 19       adm i ni stration and th e n in this ad ministration to t ry t o
 ~O       force a dives t ment of TikTok, but we are stalled ou t i n the
 21       courts.
 22            That is for the following reason:        I EEPA contains a
          pre-internet statutory exception. the so -c alled Berman
 24       amendment . after Repre sentative Be rm an . for executive         for
          informational materials and personal communications.




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                And given the amount of First Amendment-protected
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   ,      activity and expressive content on the platform, courts have
   3      held in this case that the Berman amendmen t does not allow

   4      IEEPA to regulate and ban TikTok.
   5            CFIUS, the Committee on Foreign Investment in the U.S.,
   6      is a very powerful tool to review foreign acquisitions of

   7      U.S . businesses.   The challenge with using it here is that
   8      TikTok in the ma i n did not originate from the acquisit i on of
   9      a U.S. business.    It grew organically as a foreign-controlled
  10      application and it has worldwide popularity.
  11            And in the D.C. Circuit, in response to the CFIUS
  12      divestment order, TikTok the company put forwa rd a very
  13      compelli ng factual showing that their 2017 ac quisition of a
  14      U.S. company or a U.S. subsidiar y called Musical. ly is not
  15      the reason tha t that company grew in the Un ited Stat es .
  16           And as a result. we are in a challenging place to argue
  17      that the risks you just heard from Ti kTok arise from their
  18      application -- from their acqu isition of a U.S. bus iness as
  19      opposed to f rom their organic growth outside the Un ited
 20       States.    Because of that, there are serious li mit s to what we
 21       can do with CFIUS to tr y to br ing this problem to heel .
 22            So. put simply, as you know . Ti kTok is a sophi stic ated
          legal adversa r y that unde rs tands the limits of our
 24       authorities and the weakness of our negotiating position .
               And th a t is why DOJ believes that strong new sta t utory




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          authority will be critical to compelling the separation of
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   ,      ByteDance and China from the TikTok platform to address the
          national security concerns.
   4           We very much appreciate the commit tee 's leadership in
   5      marking up new legislation that takes i nto account our

   6      learned experience and our technica l assistance.

   7            I n particu l ar, we appreciate that the bill you are
   8      marking up today takes into account a number of proposals and
   9      suggest ions that we have made in the course of the dra fti ng
  10      process.
  11           This incl udes making a detailed legislative record that
  12      will be ent itled to deference in the courts because of the
  13      work t hat you have done and are doing today; a l lowin g for a
  14      qualified divestment to a U.S. buyer as an off-ramp to a ban,
  15      which addresses some of the First Amendment issues that are
  16      present in this fact pa tter n; and a lso provid ing targeted and
  17      carefu lly c i rcumscribed authority to address not just TikTok
 18       and ByteDance, but also oth er future similar applications
 19       controlled by foreign adversaries.
 20            I also want to express appreciation for th e work on the
 21       draft legislation addressing data brokers, because even if we
 22       suc ceed in forcing a divestment of TikTok, we know the
          Chinese Govern ment will be re lentless in their efforts to
 24       obtain the data of Ameri cans through mul tip l e means.
               For too long there have been gaps in the l aw.        We



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          dedicate extensive resources to preventing China and other
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   2      nation-states from stea ling U.S. data through cyber attacks,
   3      through insider threats, and through economic espio nage, but
   4      the law, Federal law, does not preclud e them from simply
   5      buying that data from data brokers.             That gap began to be
   6      closed last week when the President signed an executive order

   7      that applied to adversary-controlled acquisi tions of U.S.
   8      data . but we be li eve that an executive order on its own can
   9      be reinfo r ced, st r engthened, and made more durable with
  10      legislation.     And we appreciate the comm ittee's interest in
  II      this topic.
  12              So just t o end where I started, I want to thank the
  13      committee tremendously for its l eadersh i p on this topic, and
  14      I look fo r ward to work in g with you and t o answerin g your
  15      questions.
  16              The Chair.    Thank you.   Thank you for your testimony.
 17               Does the FBI. do you wish to offe r opening comments.
  18      statement, Brent?
  19              Mr. Grover.    Good mornin g.     Than k you .      I can expand a
 20       little bit on some of the comments tha t Jonathan had from
 21       ODNI.

                  So I think. from the FBI ' s pe rspect ive. there are a
          coup l e things I wou l d like to highlight.




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  II           The Chair.         Th ank you.   Thank you.    And his name is
  12      Bren t , just so you all know.
  13           Okay.      Appreciate again everyone being he re.          Thank you.
  14      Some of you briefed us last week.           I found that brief i ng
  15      extremely helpful in t he SCIF.         Tha nk you all for being here
  16      again today .
  17            I wanted to start - - Jonathan, would you just speak more
  18      to
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 20            OONI .     Sure.     So it is a great question.       It is one we
 21       grapple with not just in this instance but a lot of the
 22       economic th reats we loo k at.


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    ")
                The Chair.    Okay.     Tha nk you.
   3            I would like to ask then how much -- how were these
   4      companie s able to get a foothold in our country -- you talked
   5      about the state- to-sta te cha l lenges -- given the lack of a
   6      nationwide standard for data privacy and security

   7      protections.    I would like to ask each of you that quest ion
   8      o r whoever wants to respond to it .
   9            Mr. Newman.    So it is a gr eat question.         I think the
  10      platform was able to grow because it is very popula r, it has
  II      been popular worldwide, and because there are no laws or
  12      restric ti ons currently on the books that allow regulation or
  13      even dive stment of an application just because it i s under
  14      the control of an entity that is able to take direction from
  15      a fore i gn adversary .
  16           So at the time that it grew, my understanding is it was
  17      growi ng, in part, because it was very popula r in the world .
  18      And there is a long history in Ch i na of allowi ng technology
  19      companies to grow multinationally, to ta ke hold, and then to
 10       decide how best to use the fact that Chinese companies have
 21       grown in that way to harm national security.
               That is what we saw, for example. in the case of Huawei
          and ZTE in the telecommunications sector, where these
 2-J.     products became very popular, in part for commercial reasons.
          They were cheap.    They were using stolen IP.           They were doing




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           lots of things to undercut their com petitors.
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                                                                   And then there
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                The Chair.     Thank you.    Thank you.
  II            Mr. Newman, I wanted t o ask you, because there have been
  12      other bills proposed related to TikTok. banning TikTok.              Some
  13      have raised concerns that they run the risk of vio l ating the
  14       First Amendment.
  15            I would like to ask you to speak to the divestment
  16      option that is in the l egislation befo re us and how it is to
  17      help address the Fir s t Amendment challenges.
                Mr. Newman .     Thank yo u for the questio n.
  19            We do think that that divest ment off-ramp is very
  20      important to the bil l , and we appreciate seeing it i n the
  21      draft bill.
  22            There is a long history i n the nat i on~l security space
          of forcing companies to divest when they have problematic
  24      foreign ownersh i p.    That is the remedy.      That is the remedy
          of l ast resort in the CFIUS process I mentioned earlier.




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                It happens regularl y in that proce ss, where companies
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   ,      t hat are owned by foreign ownership go through transact ions ,
   3      don't ge t the permission of CFIUS.            If they get caught and
   4      there are national sec urity concerns. they are forced to
   5      divest .
   6            So the r e is a long trac k record of dive stment being a

   7      remedy that can occ ur with the right national security
   8      j ustification in a way that accords with the First Amendment.
   9            And just to say it plainly , our c ivil litigator s, the
  10      Departme nt of Justice, stands ready to defend this bill in
  11      cour t. to defend against argu ments we know will be made by
  12      TikTok. which has very sophisticated and highly paid lawyers ,
  13      and to litigat e these questions in the courts.
  14            The Chair .      Okay.     Thank you.
  15            The chair recognizes th e ranking membe r, Mr. Pallone ,
  16      fo r 5 minu te s .
  17            M.r. Pal lone.     Thank you, Madam Chair.
  18            I am go i ng to ask Mr. Newman my quest i on ju s t because
  19      ther e is not a lot of t ime.
 20             You know there are people out there who don ' t want to
 21       ban or di ves t TikTok.         And, of course. they are already
 22       cal l ing our offices .        And t he question th ey ask is:     Why is
          TikTok a greater risk than Facebook or X, for examp le?                Why
 2➔       are you pick ing on them?
 25             And my understanding from what you said at the br ie fing




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           last week was that beca us e TikTok was essentially owned by
                                                                                   ") 1




   1      Beijing that that puts it in a different category.             Ther e are
   3      a couple other places like that too.
   ➔            So is that the distinction, is that the reason why
   5      divesting TikTok is a bigger concern than all the
   6      misinformation, et cetera. that is on Facebook, X, et cetera?

   7            Mr . Newman.   That is exactly right.      From a na tional
   8      security perspective. we see it as a questi on             it is a
   9      question of kind and not degree when you have foreign
  10      adversary ownership and direction of a platform.            And that is
  11      what you have in the case of Ti kTok.
  12            We understand that there are a number of questions and
  13      concerns about U.S. social media applications, and I know
  14      there are other proposals to address them.            But there is a
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  19            We are not trying to ban the platform.          We are jus t
  20      trying to make sure it gets in the hands of responsible
  21      ownership.
  22            Mr. Pallone.   All right.   Then the second question I
          have is -- the chair ki nd of got to it.
  24            The Biden administration has stated an interest in
          further strengthening H.R. · 7521. to put it, as they say, in




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          the stro nge st possible legal footing.
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                                                           And obviously Ti kTok,
   ~      as you sa i d, has al l kin ds of lawyers.
   3            So my quest i on is, cou l d you just tel l us briefly what
   4      the DOJ l i t i gators consider to be the biggest l i tiga t ion
   )      r is ks in the bill and if there are some revisions you thi nk
   6      that would deal with t hat pr oblem?
   7            I mean, I know it would probably t ake a n hour and I am
   8      asking you in a mi nute or so to t el l us.
   9            Mr . Newman .   Sure.
                So brief ly. again, we stand ready to defend the bill in
  II      its curr ent fo r m in cou r t .   So I think that is i mpor t ant as a
  12      starting point.
  13            It i s t he case t hat if litigation concerns were the on l y
  14      concern . we wo uld have an addit i onal arg ument if t here were
  15      executive branch fi ndings and executi ve branch process i n
  16      addit i on to the congressi ona l f i nding s and cong r essiona l
  17      action th at the bill would impose on TikTok and ByteDa nc e.
  18      and th at wou l d gi ve us an addi ti onal argu ment.          And we d i d
  19      propose th at or at least offer t hat poin t during the
 20       technica l assistance.
 21             At t he same t i me , I do unde r s t and t ha t ther e a r e pol i cy
 ~2       con siderations th a t go into that question.              And the work t hat
          Congress has done, to make fin dings, to give pr oc ess. to hav e
 2-1-     t he hearing that this committ ee had wi t h TikTok's l eadership,
          de fini tely hel ps us t o buy down that risk.




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                So at the end of the day , again, as a litigator, you
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   1      always want to walk into court with as many arguments as
   3      possible , but we think we have a number of arguments to
   4      respond to litigation in t his case .
                Mr. Pallone.     And then, from what you said earlier, Mr ."
   6      Newman , you -- the way t his bill i.s set up, it st i ll would
   7      have t o be -- t he administration . whoever it is, would sti ll
   8      have to make t his determination before the divestiture
   9      occurred, right?      And so tha t wou ld involve additional
  10      find i ngs and hopefully ways for you to bolster the case in
  II      court .    Is t hat correct?
  12            Mr . Newman .   That i s r i g ht .   There i s d i s c re t i on to
  13      dete rmine what counts as a qualified divestment in the case
  14      of TikTok and ByteDance, and so we would hav e discretion in
  15      that area.
  16            It is also the case that there is an opportunity for the
  17      administrat i on to make potentially add itional findings to
  18      reinforce t he nat i onal security concerns tha t t he Congress
  19      would have re cognize d in enacting this bill.
 20             Mr. Pal lone.    All right.      Now, just quick l y yes or no.
 21       You, I think. already said you agree t hat Congress shou ld
 11       prohibit the data broke r s from selling Americans ' sensitive
          personal information.       I think you alr eady answered that
 24       question as yes, correct?
               Mr. Newman .     Yes, in general.        And t he executi ve order
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          that my division is enforcing is one effort to do that, and I
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   ,      know the legislati on is trying to do that in an even more
   3      comp re he nsive way.
                Mr. Pallone.       And then lastly      you can answer yes or
   5      no too -- while this -- while what we are doing today is a
   6      good start, you also agree that we need a comprehensive
   7      Federa l privacy l aw that ensures that consume rs have
   8      meaningfu l control ove r thei r pers ona l information beyond
   9      what we are do in g today?
                Mr. Newman.       So I am here in a national security role,
  II      so I am a little bit limited because that is a shared
  12      accoun t.
  13            But what I will say is, as a general matter, I know t hat
  14      the administration has called for more comprehensive privacy
  15      legislation.    And, as a national security offic ial, a lot of
  16      times the privacy concerns and the national secu ri ty concerns
  t7      are reinforcing of one another.        And I think you see that
  18      with respect to data brokers and you see that with res pect to
  19      TikTok.
 20            Mr. Pal lone.      Thank you.   Thanks so much.
 21            The Chair.      The gentleman yields back.
 22            The chair recognizes Mr . Burgess for 5 minutes.
               Mr. Burgess .      Thank you.
               And I think th i s question is fo r ODNI , but, law
          enforcement, please f eel free to weigh in.




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  8            ODNI.     Sure.   It i s a great question.          And I will also
  9       al low FBI to kind of answer it as wel l.
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               Mr . Bu r gess.   And let me jus t ask you . a long t ha t 1 i ne,




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                                                              , does that rise to
   '1     the level that would require this type of act i on by the
   3      legislati ve branch?
   4           ODNI.     That is a good question.      Let me defer to --
   5           Mr. Newman.     I thin k it is an example of the clear and
   6      pr esent da nger we face.    And in the na tional security world,
   7      we often try to act before the action occurs, you know. to
   8      the left of boom is what they say.
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 20            Is it a d ifference or is that something that you a ll
 21      monitor as well?
 .,.,          Mr . Grover.    Aga i n, sorry, apolog i es.    My name is Brent
         Grover -- I failed to i ntr oduce myself ear lier           Section
 2➔      Chief of the Ch i na Intelligence Sectio n at FBI.




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  I5            Mr . Newman.   If I can ma ke one very brief add i tional
  16      point to your good question.
  17            Mr. Burgess.    Sure.
  18            Mr . Newman.
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  15            Let me just ask you one l ast thing.      What prevents the
  16      administration f rom saying they want to ban some other app or
  17      some other thing t ha t people use?   What if they decided that
  18      some conservative outlet was too conservative and they were
  19      going to stop that?
  20            Mr. Newman.   So with respect to the legislation, the
  21      bill that has been proposed. the r e are some very specific
          fi nd in gs and criteria that have to be met i n order for the
          executive bra nch t o act .
                That includes cont r ol by a foreign adversary .      It
  25      includes a very high number of users.       It includes a series




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          o f f i nd'i ng s ab o u t t he na t i on a 1 s e c u r i t y t h re a t t h a t the
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   1      app li cati on poses.         And in the main, I thi nk that that would
   3      not apply to most of the sc ena r i os that you are talking
  ..i     about .
   5             Mr. Bu r gess.        Thank you very much.
   6             I yield bac k.

   7             The Chai r.       The gentleman yield s back.
  8              The chai r recogn izes Ms. Eshoo for 5 minut es .
   9             Ms . Eshoo .      Thank you, Madam Chairwoman and our mi nori t y
  10      leader on the committee.
  11             Th ank you, gentleme n . for your help today.
  12             I t hink that it is impo rta nt to no te in th is undertaking
  13      that this is not a banning .                Th i s is not a bann i ng .         This is
 14       about divestment.
 15              And we unde rs tand that in terms of your presenta tion
 16       that ther e are lim i ts to t he prese nt laws, and yo u went
 17       through tha t I think very well, Mr. Newman.
 18              I wasn't aware of th e exec utive order on data brokers,
 19       but I welc ome it.          I don' t know -- that is an imp ortant hole
 20       that needs to be filled. because it just leaves the door so
 21       wide open and e ssenti ally could make a mocker y of our taking
 22       the ste ps that are at hand, at least in my view.
 23              You spoke about defending i n court, Mr. Newman , an d the
 24       bill establishes one t r ack for ByteDance and another for
 25       ot her foreign adve r sary-cont r ol l ed app l ica t ions.                 That is a




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           -- i t is a two-track appro ac h, and it will give ByteDanc e the
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    ,      opportunity to ar gue it is being selec tiv ely persecu ted and
    3      not provided t he same due process rig hts as other compani es.
                   So ca n you allay my apprehensio n about that?            I thi nk
    5      t hat t hat needs to be discuss ed and that you wa lk into court
    6      wi th the tightest case possib l e.          Because th ere have been
    7      other a tt em pts and t he courts have turned t he m down, and t hat
    8      should be highly i nst ructive to us.
    9              Mr . Ne wm an.    So it is a grea t que stion.      I th i nk they
  10       would make th at argument. because t hey have, again,
   11      very so phi st ic ated lawy e r s.
  12               Ms. Eshoo .      I would if I were t hem.
  13               Mr. Newman.       I wou l d say thre e po int s in r esponse .
  I~               One. the re have been congressional findings,
  15       cong r ess ional pr ocess that underp ins what is taking place
  16       here.     And I think we would absol utely point to t hose and th e
  17       record th at has been compiled and t he wor k t hat all of you
  18       are doing .
  19               The second i s. again , t he re is a long track r ecord of
  20      divestment of companies in t he natio nal secu rit y space when
  21       they have problemat i c foreign owners.            That is what we saw in
  T')     CFIUS.

  13               I spo ke at the bri ef i ng abo ut , for exam ple. one instance
  2~      of a U.S. appl ic ation bought by a Chine se buyer and they had
           t o d i vest.   And divestment, as to your poin t, is different




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          from a ban. and that i s really what this bill requires. i s
  ,       divestment.
  3             And t hen t he third i s , there is a se ve r abil i ty prov ision
  4       in the bi ll .   In ot her wo r ds, if for whateve r reason t ho se
  5       argume nts wor ked -- and, again, we would argue that th ey
  6       shouldn ' t work -- the executive branch could go back and
  7       build a record under the more general provision against th ese
  8       two compani es and go back in t o court and use t hat re co rd to
  9       achieve the same outtome .
 10             And so there is a belt and suspenders built i nto the
 II       bill under which we could use that second option if, contrary
 11       to the argu men t s th a t the De partment wo uld be mak i ng, a court
 13       found that the first provision was prob l ematic f or some
 14       reas-on.
 15             Ms. Eshoo.    Well , that is most help f ul.
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 20            Mr . Newman.
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   5             Ms. Eshoo.     Well, tha nk you for that .
   6             I would just say to each one of my colleagues on the
   7       committ ee this is going to be a highl y covered issue whe n we
   8       l eave our committee hearings and undertakings, and I think
   9       that e ach member needs to stress the following.
  10             The Un i ted States of America i s not banning .         We are
  II       demand ing divestme nt for the purposes of our national
  12       security. full stop.
  13             Thank you .
  14             The Cha i r.   Th e gentl elady yields back.
  15             The c hair recognizes Mr. Latta for 5 minutes.
  16             Mr. Latta .    We l l, tha nk you. Madam Chair .
  17             And I am going to ask a rhe tor ical ques tion of a ll
  18       thr ee.   Does t he CCP al low any U.S. apps or foreign Western
  19      apps l ik e TikTok i n commun i st China?     That I assume
  20             Mr. Newm an.    To ans wer your quest ion. a rhetorical
  11      question, the Chinese Government would never allow the deg re e
  ~7      of fr eedom of acce ss th at we allow to the United States, and
  23      t hat is one of the diff e rence s be tween our system and their
  24      authori tar ian syst em.
  25             Mr. Latta.     Thank you.




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                And to our intelligence age ncies, I won ' t use names
   2      since we didn't have names originally. but let me ask this
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  II            Mr. Latta.    Okay.                                   Thank you.
  12            Mr. Newman. I know        again, thanks fo r being with us
  13      again .    And this has come up multiple times, but in the
  14      conf iden ce of defending this lawsuit. I assume you have
  15      looked at this on a 360 degree, how all the differe nt
  16      arguments they are going to make on the TikTok si de, because
  17      you had ment i oned that there is a lo ng histo ry of forcing
  18      divestment of a company.
  l9            But the question i s also in this situation is let's just
 20       say that how confident a re we that as soon as -- l et's just
 21       say they might have to divest -- that all this in f ormation
 22       hasn't already been tra nsferred to China to beg in with?
                Mr. Newman.    So it is a grea t question.       I know it is
 24       one we spoke about i n the briefing .
 25            The l egislatio n requires the Pr esident to make certain




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           de t erminations of wh at is a qual if ied divestment.
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                                                                        It
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      ,    requires t he executive branch to make those determi nations.
      3         And t he core of tha t is t o con firm t ha t they have
     4     severed t he link between t he new U.S. owner s hi p of the
      5    company and Beijing.
     6          And so. to you r po int . not every divestment would
      7    qua lify. only divestment to a bona fide real buyer who is no
      8    longer subject to doing the bidding and cont r ol of the
     9     Chinese Governme nt.
   10           Mr. Latta.    Okay.   And again, because, again . I guess I
   11      keep com i ng bac k to it becau se of the d iv estment question.
  12       Because, again, in the history that we have had. and you said
   13      there ar e two authorities i n the law. and exam pl es f rom
           previous adve rsa ries we might have out there that had
  15       divestment.
  16            But have we eve r had a si tuation where it has been se t
   17      up like t hi s where, okay, le t 's just say it is a defense
   18      sys tem and that they have to have the divestment.
  19            You mi ght be able to have that f i x ea sily in t here,
  20       bec ause you have go t it - - if it i s, l et ' s say, a missi l e
  21       s ystem, you go back and say, okay, we ar e going to make s ure
  "")'")
           that whatever softwa r e was there has been changed.
                But. aga i n , I guess I keep going back to the question i s
  24       how con fi dent are we going to be that th i s i nformation t hat
           is already out the re , and i t is just -- it is t here, and in a




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                of a button it could -- it is probably there already.
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  ")
               I don't trust them to begin with .     I assume that they
  3       have already got it.
  4            But I am just concerned, as you look - - you don ' t have
  5       to answer right now on that     but I am just concerned about
  6       that as you loo k at your -- on the defending this in court.
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                Mr. Latta.   For the FBI, quick question.
   3            You know, one of the things you mentioned in your
   ➔      testimo ny about
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 21            Mr. Lat ta.   Okay.   Thank you.
 22            And. again, and as my friend f rom Cal i fornia brought out
          that this is not a ban but we have a divestiture. that I
          think t his is the i nfor mation that we have to make sure of,
          that the American people understand that we are no t banning




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          anybody.
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                       We are just making sure that it is safe for them to
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  2       use a certain app.
  3             So I app reciat e you all be in g here.
  4             Madam Chair, I yield back.
  5             The Chai r .    The gent l eman yields back.
  6             The chair recognizes Ms. DeGette for 5 minutes.

  7             Ms. DeGette .     Thank you very much, Madam Chair.
  8             Thanks for all of you for coming.
  9             I want to start wi th you, Mr. Newman, about the
 10       constitutional issues.       And I know you said there is a long
 II       record of divestment of companies and so on.
 12             Have we ever had legislation targeting a specific
 13       compa ny ?   Because that is part of what TikTok is arguing is
 14       that we are specifically targeting them in legislation.
 15             Mr. Newman.      So you do have legislation that targets
 16       companies in related context, so, for example, disqualifies
 17       t he m from being Federal contractors, disqualifi es them from
 18       selling se r vices to the Federal Government, speaks to certain
 19       companies ' ineligibility.
 20             I do think, to your point, t hat the company will try to
 21       argue that this is a form of impermissible punishment, t hat
 22       the Consti tu tion --
                Ms. DeGette.      And do you think there is lega l precedent
 24       that you have to say that is not the case?
                Mr . Newman .   I do . because I th i n k fund amen ta 11 y o u r




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          position is t his is not punishment for t his company.
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                                                                              This i s
  2       not a ban on the company.         This is an e ff ort to compel
  3       somethi ng th at we do regularly in the nationa l security space
  4       t o force a di ve stment of problematic ownership.
  5             Ms . DeGette .    We do n' t do legislat i on specifically
  6       targeted at companies i n the national security.            We do
  7       r equi r e divestment in t he nat - - - I mea n, t ha t is the
  8       differe nce, right?
  9             Mr. Newman.      There is a Federal statu t e under CFIUS tha t
 10       allows divestment
 11             Ms . DeGe tte.    Right.
 12             Mr. Newman.         across a number of compan i es.
 13             Ms. DeGette.      I understand.
 14             Mr. Newma n.     And the re are instances wher e Congress will
 15       highlight national secur i ty r i s ks of specific companies.
 16             Ms. DeGette.      Okay.    My seco nd question is, can yo u
 17       briefly tell us the difference between - - tell us what
 18       happened i n the Mon t ana case where in Novem ber the U. S. Court
 19       judge ruled that t he Montana ban wa s not co nstitutiona l .
 20            Mr. Newman .      So there. that ruling. as I unde r stand it.
 21       rested on Firs t Amendment grounds.
 22            Ms. DeGet te.      Right.
               Mr. Newman.       And it reflects th e fact th at there i s --
          first of all, t here is a lot of First Amendment protected
          activi t y t hat ta kes place




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                 Ms. DeGette .
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                                  But did the Montana law have some of the
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   ~      prov isi ons that we have in this bill?
   3             Mr. Newman.     States and the Federal Government are very
   4      differently situated when it comes to legis l ating in the
   5      national secu r i ty interest --
   6             Ms. DeGette .   Okay.    But my questi0n is --

   7             Mr. Newman .    -- and the Fede r al Government
   8             Ms. DeGette .       did the Montana law have some -- was it
   9      structured the way we are or was it structured a diffe rent
  10      way?
  11             Mr. Newman.     I am probably not an expert on that law,
  12      bu t it -- th e fundamental difference from my perspective is
  13      that Congress and the Federal Government has t he power to act
  l4      in the national se curity interest in a way that States often
  15      do not.
  16             Ms. DeGette .   I am going to try to ge t some more
  17      i nf ormat i on about what that Montana law said.
  18             Now, I hav e a question for either of the other t wo
  19      witnesses he r e, whic h is, when we had our big hearing in this
 20       committee last year, TikTok came in and they talked abo ut
 21       this Texas project.      They were transferring management of
 22       TikTok to Oracle, and t his was their whole big argument to us
          about how th i s was taking it i ndependent of PRC .
 24              Can you guys comment on that effort and why you don't
          believe that that is sufficient to get to -- to gain the




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          independence t hat we need?
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 21            Mr. Ne wman .   And if I could just add a couple of points.
 22       First . under their Project Texas proposal , you would st il l
 13       have ByteDance executives. yo u know, direc t ing ce rtain of the
 2➔       activ it ies of TikTok.   And you would still ha ve a lo t of
         sy ne r gy between Ti kTok 's U.S. appl ication and the Ti kTok




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          Global platform selling ads, promoting certain content for
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   1      commercial reasons. understanding sor t of t he commercial
  3       metrics that they wou l d need to be responsible owners.             As a
   4      result, you would see a lot of data moving back and f orth
  5       even if they were in good fa it h.
  6             And because we are concerned that they are not in good
  7       fa ith and we. the Department of Justice. and the FBT would
  8       probably be the ones to have to catch them, we are very
  9

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 1-l            Ms . DeGette.      Thank you.
 15             Thank you very much.       I yield bac k.
 16             The Chair.       The gentlelady yields back .
 17             The chair recognizes Mr. Guthrie for 5 minutes.
 18             Mr. Guthrie.       Thank you.   Thank you, Madam Chair.        Thank
 19       you for ·the t i me.
 20             Thank you for being here for this important hearing.
 21             So I guess, Mr. Newman, I will address this to you.              So
 22      you have used terms today, clear and presen t danger,
 23      controlled by foreign adversary, foreign ownership and
 24      direction.
 25            And I know everything in China, i f you have a local




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          market. you have a communist overlord.
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                                                         We had the chair
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   1      the CEO of Tik Tok befor e us.    And when we asked him any
   3      connection, any -- any question that we would ask him wi th
   4      any question of the CCP, the PRC. he dismissed it as almo st
   5      incredulous that we would even ask. that we di dn't understand
  6       how busines s even worked that we would even ask.            I mean , he

   7      was pretty much insu ltin g to almo st eve ry member that asked
   8      him a que s tion in tha t way.
  9            And so what I am heari ng from you and from all of you
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  l➔            Mr . Newman.    From -- I want to answer your question
  15      care ful ly bec ause . obvi ously , a false statement to Congress
  16      is a crime.      But what I would say is this.         If the important
  17      quest ion fo r national se cu r ity is.
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 20            Mr . Guth rie.
 21            Mr.
 22                                hat is wh at I am comfortable saying in
 23       this setting .    I think it is a very fair qu est ion.
               ODNI .   I wa s j ust going to . i f I can , just add .     What I
 25       was trying to get to with the i ntel l igence portion of this




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   6           Mr. Guthrie.      But it would be -- and I am going -- I

   7      know we got more people that want to tal k .             But it wou ld be
   8      incredu lo us for us to be l iev e that
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  10           So - - well. anyway. I t hink you answered my question as
  11      far as you are go i ng to answer .     So tha nk you.
 12            And I will yield back.
  13           The Chair.      Th ank you.
 14            The chair -- the gen t leman y i eld s back.
 15            The chair rec ogni zes Ms. Sch akowsky for 5 minu te s.
 16            Ms . Schakowsky.     Thank you.
 17            I am j ust wo nde r ing who you en visi on would actually
 18       purchase TikTok, and are there an t itrus t issues that co uld be
 19       involved ?    And let me jus t a lso say that the conc en tra t i on
 20       t hat we have see n in the tec h i ndust ry and t he abuses that we
 21       have seen of everyday consumers, I am concer ned then, are we
 22       going to now mak e it eve n tigh te r an d have someone who is
          already in th e market?     And so who would buy it?
               Mr. Newman.      Tha nk you for the quest i on.
 25            To break it apart into two pieces:           First, would t here




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          be a buyer for TikTok?
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                                      I thi nk our judgment is that there
                                                                                  -+5




  ~       would be a market to buy an app like TikTok, which i s
  J       prof i table, which does have 170 million users, which does
  -+      generate a lot of revenue. and that Byt eDance. although
  5       subject to the direction and control of China, is a
  6       for-profit company that would be very motivated commercially
  7       to find a buyer and to structure its assets in a way that it
  8       could get some value f or this application.
  9            Ms. Schakowsky.     Do you foresee that ther e would be som e
 10       antitrust issues that we might want to look at?
 11            Mr. Newman.     I think it would be -- I am at t he limits
 12       as a national security lawyer, but I think it wou ld be -- it
 13       would depend, of course, on who the buyer was and what
 14       conditions attac hed to that sale.
 15            But there are a number of entities , inc l uding entities
 16       that don ' t operate exactly in the space of the social media
 17       world, and so it wouldn't raise the kind of horizontal
 18       monopoly issues that cou l d buy that platform, that would have
 19       an inter est in doing so.
 20            Ms. Schakowsky.     Okay.
 21            Mr . Newman .   I do th i nk , as you say , there i s a lot of
 22       antitrust activity in the tech space, and I --
               Ms. Schakowsky.     I hear you.
               I want to -- you me ntion ed that the Pr esident of the
          United State s has an executive order that deals with for eign




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          adversaries and, you know, said, well, t hat is kind of a nice
                                                                                         -+6




   1      thin g.
   3                How does that fall short, in your view . and requ i re that
   4      we ma ke this par ticular decision in Congress?
   5                Mr. Newman .   So that executive order for TikTok -- first
   6      of all . that execut iv e or de r is based on IEE PA. one of t he

   7      statutes I talked about at the beginning.                And so i t cannot
   8      apply to any ex pr essive data o r communicat ion s data becau se
   9      t here is a lim i ta t ion i n I EEPA tha t doesn't allow it.           And.
  10      in fact, the re i s a carve-o ut in t he execu ti ve order fo r that
  II      ty pe of data.        So it wouldn ' t address. for examp le. t he
  12      t r ansfer of communications on the TikTok platfo rm back to
  13      China because the Berman amendment to IEE PA does not allow
  14      th a t.
  15                Mo r e genera l ly, I think, although we feel co nfide nt i n
  16      the legal basis of an - - of the executive o r der, it is alwa ys
  17      the case when you have innovative government r egulation in a
  18      new area that it i s on a stronger lega l footing if you hav e
  19      the benefit of both Congress and the executive specifically
  20      authorizi ng regul ation .        And that is why we would very much
  21      welcome congressional action.
                    Ms. Sch akowsky.     Let me ask th is .    Maybe t his was asked.
  23      But when we tal k about bad actors and foreign adversaries,
 24       what about Rus sia?          We know that th ey in te rv e ned in our
          elec t io n .    So why are they no t included here ?




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               Mr. Newman.
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                                So the answer is I think Russia is a very
                                                                                        47




  ,       bad actor, and they are and should be included.              So under t he
  3       exe cutive ord e r. t here are act ual ly seven countries that are
  -+      cover ed as foreign adv e rsaries.       One of them is Russ ia.       And
  5       under the legislation tha t we are discussing today. t he r e are
  6       four countrie s that are covered:         Russia, Iran . North Ko rea.
  7       and China.
  8            And I agree.      I mean, Ru ss ia doesn ' t have the same
  9       comme rcial resources to try to dominate i n these spaces.                  But
 10       you see in app lica tions like Hisperski (ph), you see i n oth er
 II       Rus s ian technology companies that they are --
 12            Ms. Schakowsky.          We do see intervention right here in
 13       our own country her e, thoug h, when it comes to the election.
 I-t           Mr. Newman.     Ye s .     And that was what they were abl e to
 15       do on a pla tform t hey didn ' t own.       You can ju s t i magine what
 16       the capability is of a foreign adversary on a platform that
 17       is owned by a comp any under t heir control.
 18            Ms. Schakowsky.          So when you talk about CFIUS, so - - I
 19       mean, there have be e n          how does CFIUS fit in to this ?      And
 ~O       does t his tell us anything about buying another company?
 21            Mr. Newman.     So CFIUS has a long history of requiring
 22       divestment.     So I t hink what it tells us is t here is a way t o
 13       sell assets that fo reign acquirers buy that raise nationa l
 24      security risks .     And we have a pro cess and a playbook for
 25      doing so in the execu t ive branch , and I t hink we would draw




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          on the lessons learned i n trying to effectuate a divestment
                                                                                     48




   ,      here if t his bill became law.
   3            Ms. Schakowsky.       Okay .   Thank you.
   4            And I yi eld back.
   5            The Chair.    The gentlelady yields ba ck .
   6            The chair r ecogn izes Mr . Griffith fo r 5 minutes.

   7            Mr. Gr iffith.      Thank you very much , Madam Chair .
   8            Let me s t a rt with what is go i ng on today and just ask
   9      you a ll to l ook into i t.       And that is, is that apparently
  10      what we a r e heari ng is that if you want to access TikTok and
  II      you l ive in one of ou r con gr essi onal districts , you cannot
  12      access TikTok without contacting our office first.              And then
  13      t hey encou rage you to say be aga inst this bill.
  1➔            Does tha t cross any l i nes?      I don't kno w the answer and
  15      don't expect an answer today.          Just want you all to look into
  16      it.   Ca n you assure me t hat you will do so?
  17            That is an affirmative.         I see a nod .
  18            Mr. Newman.       We will look into it, as we would anythi ng.
  19            Mr. Gri ffit h. · Okay.
  20            Mr. Newman.       I wou l d also say it probably is a sign t hat
 21       th ey are very conce rn ed that t his --
 22             Mr. Griffith.       Yeah.
                Mr. Newman.       -- bil l will become law.
 24             Mr. Gr if fith.     It means we are doing somet hing good.
 25             All right.    Number two.




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   '
                  ODNI.    Yeah, absolutely, yes.
                  Mr. Griff ith .      So we can ' t go about tha t when we go ou t
   5      o n our st ump speec hes .
   6              ODNI .

   7
   8              Mr . Gri f fith.     I am just tryi ng to make s ure I get the
   9       rules right.
  10              Al l right.    Mr. Newman, one of the th ings I was
  IL      concer ned about when the CE O was in here -- a nd i t goes to
  12      what Jona than was say ing earlier abou t t he control of
  13      Byte Dance and TikTo k bei ng th e sam e -- I repeatedly aske d
  14      about their attorneys.           And even though t hey c laimed th ey had
  15      buil t a fi rew a l l between Byt eDa nce and TikTok, t hey shared
  16      t he same attorne ys, no t just the same fi rm with a str uc ture
  17      under America n judici al ethi cs firewall but th e very same
  18      attorneys.
  19              Doesn ' t -- isn 't that just exhi bit A in why that the y
  10      are not separated and why their, in fact, the ir i nterna l
  21      workings in the i r adm i nist ratio n a re, in fac t , still the
  22      same?
                  Mr. Newman .       One of t he co nce rns we ha ve with Project
          Texas and t heir cu rr e nt approach is th at t he re is just too
          much communi catio n going on between th e parent , Ti kTok




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          Global, and TikTo k U.S.
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                                          And it is very hard to know where
                                                                                    50




   2       the influences and interactions begin and end.
   3            Mr. Griffith.     Wel l , in rea lity, if they instructed
   4       t heir attorneys to access the i nf ormatio n that was colle c t ed
   5      by TikTok U.S .. their at t orneys would have to do it and the
   6      attorneys would have access to it because it ' s the same
   7      attor neys.
   8            All right.     Enough said about th at.
   9            I was interested in Ms . DeGe tte's question.          And I think
  10      what she was looking for you didn't give he r. and that is,
  II      can you ci te a piec e of legislation where we specifically
  12      named a company?      It may apply to others. as this one may
  13      app l y to others.    But. you know. in World War I I. did we name
  I➔      that you couldn't do busine ss wit h a pa rti cular German
  15      company or a partic ul a r Japa nese company ·before -- and
  16      particularly befo r e hostil i ties broke out?
  17            Mr. Newman.     I would be happ y to follow up and get
  18      examples.     But there are a number of inst an ces . for example .
  19      in Federal acquisitions --
  20            Mr. Griffith.     So you say they are out there where the
  21      legisla t ion speci f ically says XY Z corporation and any other
  22      businesses cu r re ntly in that same si tuation ?
                Mr . Newman.    Correct.    Outside the divestment contex t.
  2➔      there are a number of places where for national security
  25      reasons




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                Mr. Griffith.
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                                   You can get t ha t to
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                                                              and I will say
                                                                                      51




   ,      Ms. DeGette proba bly wan t to see that too.            But th at is what
   3      we are lookin g for is some evid en ce t hat we hav e autho r ity to
   4      do this and have done so in the past and no t had it struc k
   5      down by the Supreme Court.

   6            All righ t.     And then I am okay with it.         I said this in

   7      ou r oth er briefing.     I am okay with it.     I th ink it i s
   8      important enough .      But I do t hink th a t i f we pass a piece of
   9      legislation that Ti kTo k can show reduces t he ir ma rke t value.
  10      I t hink that is a tak ing .     I don't t hin k it is -- I don't
  II      think it i s a bi ll o f attainder, but I do t hink it is a
  12      takin g by the United States Federal Governme nt.            And we may
  13      have to be a part of the sale or pay some money into t he
  14      company fo r it to be divested.
  15            Do you ag ree or disagr ee?     Have you researched i t since
  16      last we spoke?
  17            Mr . Newma n.   So it is an excellen t quest ion.        It took me
  18      back to my law sch ool pr ope rt y class.      What I can say is I
  19      spoke with ou r civi l l itigato r s about whether there would be
  20      a takings clause li tigatio n cha lle nge bro ugh t and whether we
  21      would be on s trong f ooti ng.    Their ans we r was th ey believed
  ''      that we would hav e good arguments agai ns t that , in part,
  23      because of the na tional securi ty bac kd ro p to which all of
  24      t his is takin g place and, in par t. becaus e we would st ill be
  25      able to point to a bro ad number of qual ified U.S. buyer s,




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          just as we . do in the CFIUS context.
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                But I th i nk it is a good question.           And l i ke I said, I
   3      had to study up after you posed it to me last time .
                Mr. Griffith.        Yeah.    Well, and the i nteresting thing
   5      about that is. even if we lost. it doesn't mean we can ' t
   6      force the divest i ture.          It just means that we have to pay
   7      a -- we will have to pass an appropriation to cove r that.
   8      Agreed?
   9            Mr. Newman.        If they -- if they succeeded. that would be
  10      right.     But, again, I think our current civil l iti ga tor 's
  II      judgment is that they could respond to it.
  11            Mr. Griffith.        Okay.    And I am going go with th eir
  13      judgment, but I just want us to be ready if we have to.                   It
  14      is worth it.         This is a big enough dea l for the United States
  15      of America's fu ture that if we have to pay a litt l e bi\ of
  16      mo ney to get rid of this cancer in our society, I am more
  17      than willing t o support it.
  18            I yield back.
  19            Mr. Cardenas.        Will the gentleman yield for a point of
  20      clar i ficat i on?
  21            Mr. Griffith.        Yes.
  22            Mr. Cardenas.        Yeah, a point of clarification.          The
  23      divestiture requ i rement wou ~d be that they dive st from
  24      foreign adversary ownership.           It doesn ' t mean that i t has to
  25      be an American purchaser.           It cou ld be as long as somebody




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           who purcha se d that portion of the company and that
                                                                      Page 53 of 174   53




   2       di vestitu re is not on that li st.
   _,...        Th e Chair.      No t a fo r eign ad versary .
                Mr. Ne\vman.        I think that is cor r ect. but there wou ld
   5       have to be certa i n f indi ngs made that the e ffect of the
   6       d i vestment was to cut off any connection to the fore ign
   7       adversa ry.     And we would obviously look to see whether the
   8       buyer was su f fic ientl y insu l ated from Chinese or Ru ssian --
   9            Mr. Cardena s.        But it doesn 't requi r e it be an Amer i can
  10       purchas er.
  11            Mr . Newman.        It doesn't necessarily r eq uire that, no.
  12            Th ank you.
  13            Mr . Gri f fith .     I yield back the time I yielded .
  14            The Chair.      All ri ght.     The ge ntlema n yields back.
  15            The c ha ir recogn izes Ms. Matsui for 5 min ut es.
  16            Ms. Ma t sui.       Th ank you very much, Madam Chair.
  17            I have a question for the FB I.           Di rector Wray has
  18       indicated th e FBI has co nce rns that the Chinese Governme nt
  19       can control TikTok ' s recommendatio n algo r ithm .
 20             How did the FBI make th is determination, and does it
 21        believe t he PRC has ever taken steps to assert control over
 12        TikTok's algorithms or recommendat i on processes?
                Mr. Grover.         Thank you for the ques t ion.
 24




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  19           Ms. Matsui.    Okay.   Then. how abou t t he othe r witnesses?
 20       Do you have evidence or reas on to believe th at TikTok's
 21       algo r ithms have been modified at the direction of PRC?
               Mr. Newm an.   So I will let my intelligence community
          col l eague we i gh in. bu t I know there are a number of outside
 24       studies that suggest t hat some of the content on TikTok is
          more favorable in its nar ra tives to the PRC and less           has




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          less present narratives critical of the PRC.
   1            There are multiple reasons that could be and we don't
   3      know definitively what they are, but it cer tainl y ra ises the
   4      conce rn --
   5            Ms. Matsu i.     Right.
   6            Mr. Newman.      -- that that might be the case.

   7            Ms. Mat sui.     Okay.    Dir ector Haines recently described
   8      concerns about how the Chinese Government could utilize data
   9      captured by Ti kTok, noting the capacity to t hen turn around
  10      an d use it to target audience s for in fo rmation campaign s but
  11      a ls o to have it for future use is for a provided means.
  12            Now , does t he ODNI have evidence or reason to believe
  13      information campa i gns or any of these other strategies you
  14      just desc r ibed have been deployed against the interes ts of
  15      the United Sta te s?
  16           ODNI.
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                Ms . Matsu i.
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                                Okay.
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                                         In addition to TikTok , what are
                                                                                   56




   ,      other data-ga t heri ng stra tegies the Chinese Government has
   3      been utilizing against U.S. citizens?
   4            Mr. Newman.     So I am happy to start.
   5            We have seen a broad effor t by China to use U.S. data
   6      and information against the U.S. Government.
   7            One of the things that we are very fo cused on ,n the
   8      Jus t ic e Department in my divi sion is that they have taken a
   9      number of act ions to specifically ta r get Chi nese dissid en ts
  IO      and others inside the United States who are adva ncing
  II      positions critical of the Chinese Government.
  12            We have brought a number of cases, in clu ding a case t ha t
  13      I announced last year, the PRC police station case in
  14      New York, includi ng cas es involv i ng threats over the Zoom
  15      pl atform that we re made again dissidents, including
  16      surveillance of indivi duals who t hey ar e trying to compe l to
  17      go back to Chin a to f ace some purported crim i nal case cal l ed
  18      Operat ion Fox Hunt that resul t ed i n a criminal conviction a
  19      few months back.
  20            And so we have seen a la r ge campa i gn under which the
  ~I      Chinese Government is tr yi ng to pro ject its authoritarian
  22      rules using tech nology and using t heir access to the Chinese
  23      diaspora in t he United States.
               Ms. Matsui.      Okay.   I under s tand that you don' t believe
 25       that Project Texas is goin g to be doin g what it is su pposed




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          to be do i ng.
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   ,            I s there an opportun i ty to look at Project Texas on its
   3      own to maybe assess what we can do with that part ic ular data
   ~      co l iection?
   5            Mr. Newman.       If I understand the question, is there an
   6      opportunity to kind of verify and audit whether Project Texas
   7      1s doing what t he company --
   8            Ms. Mats ui.      Exact l y .
   9            Mr. Newman.       -- says i t is doing?
  10            Ms. Matsui.       Exactly.
  11            Mr. Newman.       I th i nk there is some -- the company hasn' t
  12      given us exact l y that opportunity.
  13

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  17                                                                And I thin k t hat
  18      is part of our concern is
  19            Ms. Matsui.      Okay.
 20             Mr. Newman .      -- right now. they have a l ot of incentive.
 21       You know. TikTok knows that they are in the spotlight.                 They
 ''       know that the Chinese Government is being scru t inized.               So I
 23       am sure they are not doing very blatant and obvious things
 2~       r igh t now.
                Ms. Matsui.      Okay.




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                 Mr. Newma n.
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                                  Bu t in the fut(Jre, they might try to do
                                                                                         58




    ,     such a th i ng .
    3            Ms . Matsui .    Okay.    Tha nk yo u.
    4            And I yie ld back.
    5            The Chair.      The gent l e lady yields back.

    6            The chair re cognizes Mr. Bili rakis for 5 minutes.

    7            Mr. Bili ra ki s.     Thank you.     Thank you. Madam Chair.
    8     This is an excellent br i ef in g .        I apprec i ate it. very
    9     informative.
  16             A question, I guess for Mr . Newman, but whoeve r w~n t s to
  II      respond .    I n the event that ByteDance does not divest under
  12      the bill. are th ere st ill ways for end users to ac cess t he
  13      app or website for TikTok other than th ro ugh the app stor es
  14      they are using now?          Essentially. will TikTok truly be
  15      bl ocked or wi ll it just be mo re diff i cult to access?              I think
  16      that i s very important.
  I7             Mr. Newman.      If
  18             Mr . Bilirakis.       And, again. assuming the bill become s
  19      law.
 20              Mr. Newman.      If the y didn't divest wi t hin the deadl i ne,
 21       there would be a number of proh i bitions that would take
 ")'')
          kick i n un der the bill so that bot h the a pp stor es. th~ App le
          app store, the Google Play s t ore. as well as ot her ser vice
 24       providers and those who provide ser vices in suppo r t of
          TikTok. would face potent ial pe nalti es if the y continue to




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          support the app.
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      ,         So my sense is, as a practical matter. it would be very
      3   dif ficu lt for TikTok to continue to operate in the United
      ~   States once this bil l became law. if they were unwilling to
      5   undertake a qualified divestment.
      6        Mr. Bilirakis.     Okay.   Thank you.
      7        This legislation is not exclusive obviously to TikTok.
      8   We hav e said that.
      9        Are you act ivel y investigating similar international
  10      threats posed by other companies at this time?         And you think
  11      that this legislation, if enacted, of course. would be
  12      invoked against in the foreseeable futur e based on your
  13      knowledge of the threats , so international thr eats ?
                       Yea h.   So from the ODNI perspective,
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   9            But, of cou r se, be f o re we would use this autho rity,
  JO      someone would have t o build a re cord, look at the statutory
  1·1     requi r ements, and decide whe t her this spe c ifi c criteria i n
 12       the statute were met fo r those comp anies.
  13            Mr . Bi l irak i s.   Let me ~laborate on my first question .
  14      unl ess the FBI wan t s t o -- do you wa nt to chi me in on that ,
 15       pl ease?
  16

 17

 18

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               Mr . Bilirakis.        Okay.   Now, what kind of an enforcement
          mechanism -- let ' s say t hat - - we ll , with r egard t o the bill
 24       but pen alties.      But let 's s ay a        ano th er count ry, possibly
          an al ly of ours, is coope r ati ng           t hey must ·not be a good
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          ally i f they do -- but cooperating with the Chinese CCP or
                                                                                    61




   1      ByteDance or what have you. and peopl e here in the United
   3      States have access to users, or they can ' t get it from
   ➔      Google, et cetera, but t hey can get i t from anothe r country
   5            Is t hat possible?      Have we addressed that in t he bi l l?
   6           Mr. Newman.       So I know that s ome of the provis i on s i n
   7      the bi l l are limited to the t erri t orial United States and
   8      they don't apply extrate rritorially to ac to rs outside the
   9      United States.       My sense is that is pa rtly becau se,
  10      obvious l y, the United States is mu ch more l imited in what it
  11      c an prohibit about e xtraterritor i al applicatio n i n a non - U.S.
  12      company .
  13           You know, to the point that was raised ear l ier about t he
  14      calls that you al l have been getting from TikTok, I think the
  15      fact that they are tak ing that step is a s i gn t hat they are
  16      very nervous th at i f this bi l l became l aw, it would be a
  17      devastating blow t o the i r
  18           Mr . Bi lirak is .   So we are doing the right thing.         That
 19       is what i t te l ls me.    Thank you very much.
 20            In the in te rest of time . I wi ll yield back.         Thank you.
 21            The Chair .     The gentleman yie l ds back.
 , 1
               The chair recog nizes Ms. Castor for 5 mi nutes .
  ),
 _ .)          Ms. Casto r .    Thank you, Madam Chair.
 24            And t hank you. gentlemen, for all yo u do to help keep
          America s afe.




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                The end of last year. the State Department Global
   2      Engagement Center issued a f irst - of-its-kind 58-page report
   3      that la id out Beijing 's tactics and techni ques for molding
   4      public opinion. such as buying content. creating fa ke
   5      accounts, how th ey spread thei r message, and us e repression
   6      to quash unfavorable opin i ons.
   7            The head of that center said that -- warned that
   8      Beijing's in formation campaign could eventually sway how
   9      decisions are made around the world and undermine U.S.
  10      in terests.     He said:   Unchecked , the PRC's information
  II      manipulation cou l d in many parts of the world dimin i s h
  12      freedom to express views critical of Bei j ing, would transform
  13      the global information landscape, and damage the secur ity and
  I➔      stability of the United States, its frien ds, and partners.
  15            I t went on and said:       In social med ia . the CCP deploys
  16      armies of bo t s, trolls, and coordinated campaigns to suppress
  17      critical content and boost pro - Beij i ng messages.
  18           Chinese - made phones sold overseas have been found to
  19      come with censorship capabilities .        Other experts say they
  20      use i t to sow discord and wi ll use it to in fl uence our
  21      elections .
 22            Are you familiar wi th t his report?
               Mr. Newman.       I am very fam iliar with it, an d I had a
          chance to mee t with some of the authors of it before it was
          re leased.




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                Ms. Castor.      So I       Madam Chair, I would like to ask
          our profess i onal staff to consider ente r ing into it the
  3       re cord after you hav e an opportunity to review i t.
  4             Do you agree with what is set forth i n this re po r t?
  5             Mr. Newma n.     I do agree with i t.
  6             The one no te I would add as a context is the Global
  7       Engagement Cente r ' s princip a l agreement is about info r mation
  8       outside t he United State s, rathe r than info r mation i nside the
  9       Un it ed States, and that is for a host of reasons.
 10             But, fundamentally, what they are trying to do outside
 11       t he Un i t e d St a t es . they are t r y i ng to do wi th even more
 12       assert ivenes s inside the United States, given that t hey view
 13       the United States as thei r biggest global adversary in the
 l4       21st century.
 l5             Ms. Casto r .   And, Jonathan, do you agree?
 16             ODNI.     Yeah. we agree from the ODNI perspect ive too.
 17             Ms. Casto r .   And Brent?
 I8             Mr. Gr over.    The focus there being, externally, we are
 19       aware of the report and we are            i t is not a principal area
 20       we are looki ng at in the FBI.
 21             Ms. Castor.     All right.     So we know that young soc i al
          media use rs are prime targets .       They are ta rgets for
 ~3       surve, Llance and espionage.        And l ike many of my colleagues
 2~       here, I have advocated for mode rn guardrails on algo r ithmic
 25       targeting, tr acking practices that harm kids and young




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           people.
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                       It is not just exclu sively TikTok.
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                                                                 It is the other
   2       big tech platforms.     They use manipula t ive designs to addict
   3       kids to th eir products and funnel them towards harmful
   4       content for their own gai n.
   5            Mr . Newman, can you speak to what is going on here with
   6       using TikTok to target young people in the United States?
   7       And what impact would that have l ong term on our national
   8       security?
   9            Mr. Newman.     So it is a great question .      There are
  10       probably certain aspects of that question that is less in my
  11       bailiwick as a national secur ity person.        But what I can say
  12       is the information they are collecting now about children,
  13      about young people -- and young peop l e often do some, you
  14       know, foo lis h and reckless th ings onl ine -- could one day be
  15      very valuable to a foreign adversary in the futur e if it was
  16       being stored and kept in the hands of the Chinese Government.
  17            So I think there are a lot of other harms that probably
  18      arise that are out of the national security space but very
  19      important.     But f rom a na t ional security perspec tive,
  20      certain l y yo ung people. college students, high school
  21      students. there is a lot in there t hat could be a value to a
  22      foreign adversary .
                Ms. Cas tor.    And, Jonathan, I mean, we are ta lking about
  24      millions of young people across America now who their data
  25      has been gathe red.




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                                           What implicat i on does that have
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   2      for our national security long te r m?


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 16            Ms. Castor.    And I will just close by saying we really,
 17       the committee r eally needs a one - two punc h here because, for
 18       a11 of the weaknesses involving the Chinese Communist Pa r ty,

 19       we don ' t have a fu ndamental privacy law in America that is
 20       protecting all Americans. particularly kids .           We don 1 t have
 21       any req uirements for how these addictive models are des i gned .
 11            And I really urge the chairwoma n , I know her heart is
          nere, but we really need to move quickly to address this.
 24            Thank you, and I yield bac k .
 25            The Chair.    The gent l elady yie l ds back .




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                The cha i r recognizes Mr. Hudson for 5 minutes.
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                Mr . Hudson.     I tha nk the chair.   And .J thank the chair
   3      and ranking member f or ho l ding this very impor t ant hearing.
   4            Thank you to the wit nesses.      Tha nk you for your service
   5      to our country.       Greatly appreciate i t.


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  10            ODN I .

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  L6            Mr . Hudson.     Woul dn 't common sense dictate that a
  17      company like ByteDance really isn' t co nce r ned with the
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  21            ODNI.     And I think our job as intelligence prof ess ionals




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                Mr. Hudson.    Okay.   At our hearing last year, I asked
   5      the question of the TikTok CEO about the access to
   6      information on other devices connected to the same local

   7      network as a device with TikTok on its app.
   8            So, for example, if Mr. Pallone invited me over for a
   9      barbecue to his house and he gave me the password to his
  10      local ne two rk and I had TikTok on my phone, does TikTok have
  II      the capab i l ity of then uploading that off every device on his
  12      l ocal network, laptop s. other devices?
  13           And the CEO told me that he would have to check with his
  1➔      engineers and get back to me.     He never got back to me, and
  15      he also took part of my question out of context and made
  16      TikTok videos to try to humiliate me, to make me look like I
  17      didn't know how local networks work. to distract people from
  18      the central question I asked .
  19           And so my question to any of you:        Are you awa re of this
 20       capability?   Are you aware that it may be happening?         And i f
 21       so. is t hat -- do you view that as a threat?
               Mr . Newma n.   I think your question speaks to a very
 ~3       important point which is , first.




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   ~            And, second , even apps t hat are behaving responsibly
   3      collect a very broad amount of information and, over time, I
   4      am s ure will co l lect more.
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 10             Mr. Hudson .   But would you say it is a fair ass umption
  II      t o as sume they have the abil ity to do that
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                Mr . Hudson.   Well, so I have been lobbied heavi l y before
 _:_,     cn 1s meec, ng.   Ano l go t a call the other day and I listen ed
 24       to them pol itel y and then told th em the same story and said I
 25      haven ' t gott en any informat i on back.




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                    And they sent an email to my staff saying that they --
                                                                                          69




   ,      my question was, do you have the capability to do it?                  The
   3      answer was we don ' t do this without pe rmissions .
   ➔                And so the permission could be when you check the box
   5      and download th e app.           I mean , that - - so I would - - I would
   6      suggest this is something you all should look into.                  I th i nk

   7      it is      a real concern.
   8                Switching top i cs.     I represent the largest military Army
   9      base in the wo rl d, Fort Liberty, Fort Bragg.               In November of
  10      2023, Du ke Uni versity released a st udy revealing that
  II      pers onal information of U.S . mi l itary member s, including
  12      addresses, health status, was available for purchase fo r
  13      minimum cost of online brokers.
  l➔                Are you aware -- and, of cou rse, my concern is for them
  15      getting information about our servicemembers.                They can trac k
  16      their fam i l y members.        They cou ld bl ac kmail them.     There is a
  17      lot of real concerns there .
  18                Are you awa re of any data brokers who have done this,
  19      and are you aware of any foreign adversaries they sold this
  20      information to?
  21                Mr. Newman.     Thank you for that que st ion.
  22                We are very concerned about just that fact pattern.                 The
  :J      aata security executive orde r I referenced that was signed
  24      last week has bulk thresholds about what is permitted to be
  25      sol d .     But when it         in re l ation to certain categories of
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          sensitive gove r nment data. inclu di ng. for example, data on
                                                                                        70




  ,       servicemembe r s, on IC personne l , it -- the th reshold is
  3       essentially zero, because we ar e very concerned tha t anyone
  4       who is tra fficki8g in that data is trafficking in a dataset
  5       that cou ld be of grea t value to a foreign adve rsa ry.
  6                And it is something I think we have exp ressed.             I will
  7       look t o the IC colleagues .
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  9                Mr. Hudson.     So do we know . -           · that i t is
 10       happe ning ?       Have we caught them doing it?
 11                ODNI.



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 20                Mr. Hudson.     Th ank you.
 21                And, Madam Chair, my time has expired, so I will yield
 n        back .
                   The Chair.     The gent l eman y ields back.
                   The chair recognizes Mr. Sarbanes for 5 minutes.
                   Mr. Sarbanes.     Thank you all ve r y much.




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   9               And that makes me curious as to how you see that - -
  10       those interests being aligned or disaligned when it comes to
  II       the issue of divestment.         In other wo r ds, do you th i nk that
  12       the PRC i s going to want to get involved or interfere somehow
  13       with the way the whole d ivest ment project goes?           And if so,
  I➔       wh a t does that look like?      That is the first question.
  15               If they see the d i vestments really coming, are they
  16      going to speed up the kind of data collection that maybe they
  17       have not been doing now beca use they are trying to -- they
  18       are trying to showcase the or window - dress the Project Texas
  19       thing in the way you describe?         So maybe they are not being
  20       busy.     But if they see divestment on the horizon and have 180
  21      days or whatever it is to go bananas and pul l in as much data
  1~      as they can. what does that look like?
  23               So maybe address t hose two things, if you cou l d.
  24               ODNI .




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 22            Mr. Newman.   If I cou l d just add one further po int.      I
         do thin k t hat if this bil l became law, it would in some ways
         divide the interests of ByteDance and the PRC Government.
         ByteDance does have share ho lders.   They would want to get




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          value for their investment , and they would want to sell.
                                                                                   73


                                                                                  And
    1     I think fo r the inverse of the reasons that we a re all here
    3     today, the Chinese Gove rnment would want to kee p that
    4     application controlled in China.
    5           In response to the l ast administration's effort to try
    6     to divest TikTok, we saw the Chinese Government put an export
    7     control res t rict i on on t he recommendation algorithm in an
    8     effort to t ry to thwart any sal e or dives tment, and I would
    9     expec t that you would see simi l ar things.
  LO           And my response wou ld be, f i rst, we -- China would never
  II      al l ow us to do s uc h a thing to their national security.        In
  12      othe r words, they put all sorts of limits on companies
 13       operating in Chi na.    And they don ' t a l low us to have a veto
  I~      on t ha t by putting restrictions on our own compani es.         And so
  15      I don't think we should accede to that as a policy matter .
  16           And. se cond. I do, think at the end of the day , that it
  17      will be a -- they will have a very difficult calculus to
  18      make. because i f t hey ul timately al low th i s application,
 19       wh i ch is one of the most success f ul , mul tina tion al Chinese
 20       products in this space, to just be destroyed by the f ailure
 21       to divest. t hat poses a l ot of risks to t heir reputation.
 1,       And I cou l d see th em try i ng to find some kind of off-ramp
 _.,
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          that would allow the app to be sold.
               I mean, it is a tricky position we put them in but, in
          my vi ew, a pos i tion that they deserve, gi ven their track




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           record in this space.
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                Mr. Grover.     And the only thing I would add is just on
   3       the point of whether or not the PRC would be incentivized to
   ➔       intervene or weigh i n, I think we have seen that historica lly
   5       even the last year or two where we have charged individuals
   6       for associating with the PRC Government for obstruction of
   7       justice with respect to their efforts to kind of insert
   8       themselves into a ongoing l itigat ion with a PRC
   9       telecommunications f irm.
  10            Mr. Sarbanes.     Fourteen seconds, but what about the
  II       accelerated vacuuming of data dur in g an interim period
  12       between now and a divestment?
  13            Mr. Grover .


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                Mr. Sarbanes.     Okay.   Thank you.
                The Chair.     The gentleman yields back.
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               The chair recognizes Mr. Wal berg fo r 5 minutes.
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   ')
               Mr. Walberg.      Thank you, Madam Ch a i r, and thanks for
   3      this classi fied hearing .
  ➔            And thanks to the panel for being here.
   5           We know the l arge ties that American business has to
  6       TikTok and the challenges t he r e.     And even as our offices are
  7       being blown up by phone cal ls put f orward by TikTok, and even
  8       as my staff speaks to some of those calls and says we are not
  9       bann i ng, we are giv ing the opportun i ty to divest, it is
 10       i nteresting, some of the ca lle r s then say , Oh. rea l ly, what
 II       is wrong with that ?     But i t shows t he power that is ou t t here
 12       from this entity.
 13            And so while knowing that U.S. business has s i gn ifi cant
 14       ti es fo r business purposes, et cetera. what pol i tical or
 15       public policy organizations in the U.S. have t ies --
 16       financial, me mber ship, or otherwise -- to ByteDance?           Do we
 17       hav e any reco rd of that. political or public policy entities?
 18            Mr. Newman.    I have no doubt, and I think we are seeing
 19       today t hat they have a large number of l obbyis t s,
 20       consultants, advisors.       I have met wit h their att o rn eys.     So
 21       they are - - I have no doubt t hat there are nume rou s such
 ?,       people in the United States.       I don't have a list here today.
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                Mr. Walberg.    ',,Jell. I would suggest we mi ght. in l i ght
    3      of the power that is the re. certain publ ic poli cy
    4      organiza t ions a t the ve r y least, we ought to check t ha t out
    5      because of the power t hat would have.
    6           Let me follow up with the FBI on Represen t ative Hudson' s
    7      question about the impact of information wit hin our
    8      servicemembers' persona l in forma tion.
    9           Do we hav e t he capab ili ty of monito r i ng the sa le s of
  10       personal i nf ormation of military membe r s, and does the FBI
   11      have legal author ity to do this?
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               Mr. Newman.    So it is a terrific qu estion.        I re a ll y
  5       appreciate it.
  6            The spec ifi c executive order that was issued last week

  7       gi ves DOJ new authority to regulate the sa le of different
  8       categorie s of data, inc l uding the ki nds of data tha t I th in k
  9       are most conce rning fo r U.S. servicemember s.        Tha t includes
 10       geolocation data, biometric ide ntif iers, per sona l hea l t h and
 II       financ i al data.
 l~            And as I mentioned , it is a gr aduated app roach where f or
 13       mo st Ame rican s, for mo st datasets, there is a bul k thresho ld,
 14       and t hat makes sens e to avoid in ter f er ing wit h commercial
 15       activity.    But fo r data sets that are exclusively government
 16       data, it gives the Attorney General the ability to set a muc h
 17       lower th res hold, because we have seen that t hat data i s s o
 18       s pec ifically valuable to fo r eign adversar ies .
 19




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                  And that is of grave concern, which is what l ed to that
                                                                                Page 78 of 174    78



      ...,
             executive order and leads to our effo rt s t o try to regulate
      3      da t a brokers in this space when it comes to foreign
     4       adversaries.
      5           Mr. Walberg.            Okay.     Thank you.
     6            I yie l d back.
      7           The Chair.         The gentleman yields back.
     8            The chair recognizes Mr . Tonko for 5 mi nutes.
     9            The gentleman yie l ds back .
  10              The chair recognizes Mr. Carter for 5 minute s.
  11              Oh, did I miss somebody?                  Oh , so then Ms. Clarke.       I am
  12         sorry.
  13              Ms. Clarke?
  1-1-            Ms. Clarke.         I yield back, Madam Chair.
  15              The Chair.         Okay.        The gentlelady yields back.
  16.             Mr. Cardenas.
  17              Mr. Cardenas.           Thank you. · Madam Chair.
  18              My office has gotten a l ot of phone calls today.                       You

  19         know, it just rol l ed off my back until somebody said that
 20          they were my son, Andres .                 So I called my son, Andres.
 21               And he says, Hello.
 17               And I said, You called me .
 ...'..)          Me   sa10,   No,    1   010n     (.


 24               So that was just to show what they are doing .                      It is,
 '.25        you know, peop l e calling.                We are used to that, right?        But




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           for the m to ac t like they a r e one of my family --
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   1            The Chair .    Wow.
                Mr. Ca rden as.       me mbe rs , t ha t was r i d i cu lous .
   4            So when it comes to elections. we have alr eady see n some
   5       ne far i ou s act ions happening fr om foreign actors in ou r
   6      elections here in th e United States.
   7             So what do you know about cou nt r ies l ike Russia o r
   8      whether or not they ar e planning or doing anything about
   9      mis in forma t io n and disin f ormat io n relating to our upcoming
  IO      e l ec tions t hi s -- at t he end of this year?
  11            You don ' t ha ve to be specific.        I mean. do we -- are we
  12      conce rne d t hat that is going to be ebbin g and flowing like we
  13       have seen in the past?
  14            OO NI.   I think it is always a conce rn.           And we were
  15       ta l king about thi s be f ore arriving .     I am probabl y not the
  16      best pe rson to speak to it, but we can put in the for eig n
  17      mali gn inf l uence folks, the elections coord i nato r f rom OONI
  18      in touch regardi ng specific info rmati on.
  19            Mr. Ca rd enas.   Specifically China , do we ant ic ip ate
  20      China maybe getting more involved?           Do we anticipate they may
  21      be ge tting more involved in this c ome fall of 2024?
                ODNI.    I think gene rally the fo reign malign influe nce
  23       LooKs ar a ll of our adversar i es .
                Mr. Carde nas.    But is there any concern more no w than
  25      maybe we have had in the past?




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                     ODNI.
                                           -
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                                   I am not in a position to say.
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                                                                                                80




    7                Mr. Newman.          Again. I am not the intelligence community
    3     br iefer.


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    9               Mr. Cardenas.           And the fact the data is somewhat
  10      stagnant when it ge ts old ! the fact that they are active
  I I     every single day with 170 - plus Americans using ap ps like
  12      TikTok, doesn't that enhance their ab i lity to do something
  13      like that, should t hey choose to?
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  19                Mr. Cardenas.           Thank you.
 ~o                 Does the data collected through apps like TikTok enhance
 21       or strengthen people's ability to disrupt, not just
 22       elections, but actua l ly do other ne far ious th i ngs wit h
 _ _,     t\illcl l ld il::i :


 24                 Mr. Newman.




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    6              Mr. Card enas.        And with the superc omputing that goes

    7     along right now , one of the things that I anticipate shou ld
    8     be a concern is, for example, somebody ' s grandmother getting
    9     a call where she actually believes that that is her
  10      grandson ' s voice and , you know, saying that it is a desperate
  11      situation, send money, et cetera. nm·l. that t hose ki nds of
  12      things are mo re and more likely to happen.
  13               But if adversaries have that informat ion, then there is
  I➔      more l i ke ly they will be victims of that in America?
                   Mr. Newman.        Yes.    I think, to answer your question,

  16      yes, it is a big               it is a very sig nif icant concern that
  17      the y can build ve r y targeted doss i ers to go afte r American
  18      officials or others they want to intimidate.

  19               Mr. Cardenas.         One of the concerns that I have with the
  10      legis l ation is that it focuses - - I am not concerned abou t
  21      the fact that it focuses on f oreign adversaries and countries
  22      and/or companies that are on our l ist.               What concerns me is
  _ _,    w 11dL   1,   1c   1s   an t\111e r1c dn company or Ame rican 01 ll1ona1re ,
  2➔      for example, who disregards the things that we have been
  25      discussing for the last hour and a half and just because they




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          are an American, does that mean that they are not going to be
                                                                                       82




   J      held to a standard of respect ing people's liberties and data.
   3      et ce t era?
   4            Mr. Newman.     So without question -- I think it is a
   5      grea t question.     Withou t ques ti on, I think that there is also
   6      a lot of risk about the use of U.S. social media platforms by
   7      foreign adversar ies.
   8           What I would say in response to your good question is.
   9      f i rst, I do think t he le ga l authorities can be much stronger
 10       against f oreign adversary-con t rolled applications.             There are
  11      a lot of First Amendment interests at stake when you a re
  12      ta lk ing about U.S. plat fo rms and U.S. speakers.
  13           And. second. we welcome engagement on whether it is data
  14      brokers or other privacy leg islatio n that could help to
  15      address some of those concerns.
  16           Mr. Cardenas.        Thank you.
  17           My time having expired. I yield back.
  18           Thank you very mu ch, gentlemen.
  19           The Chair.      The gentleman yields back.
 20            The chair recognizes Mr. Carter for S mi nutes.
 21            Mr. Carter.      Thank you very much.
               And thank you very much for your service to our country.
 _.)           Let 111e asK   you   real   qu1cK ly now .   Mr. ':>aroanes . l
 2➔       believe, touched on this and that is that if they -- if the
 25       Chinese Republican Pa r ty, if the Chinese party understands




                                    -
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                                 -
           that they are going to have to divest of th i s, that they are
                                                                                   83



   '1
          going to speed up their efforts to collect, we are about to
   3       have an elect ion here.      We are not going to have this done by
   4       that time.
   5            Are you preparing?       Ar e you doing something that is
   6      going to help us fight those peopl e, those adversaries who
   7      are going to try to impact that election?
   8            Mr. Grover .   So I wi ll take it from the FBI 's
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  19            Mr. Carter.    Right.    All rig ht.   Let me ask you this.
  20      If an American company or a friendly company buys TikTok,
  21      what are they buying?      Are they buying the equipment?         Ar e
  22      they buying the algorithms?       What are -- what are they go i ng
  23      to get?    I mean. if they get the equipment. i s -- you kno w.
  24      i t is Chinese equipment.      I mean, are they going to be able
          to use it ?
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                                   -
               Are we going to have to -- you know. we have addressed
                                                                                   8-+




   ,      this with Huawei and with some of the other in the Secure
   3      Communicat i ons Networks Act, the rip and replace.          I mean,
   4      you know. to Mr. Gr i ffi th's point. are we going to have to
   5      pay for it, betause essentially we are going to tell them,
   6      no, you can't use that?       So we are going to have money
   7      availab l e for you to replace it?
   8           Mr. Newman.       It is a good question.
   9           I think t hat TikTok is a little bit di f ferent from, for
  10      example, Huawei in that if an American company were willing
  11      to pay something approaching the market va l ue of Ti kTok. I
 12       wou l d th i nk they would do so with a plan to try to address
 13       some of the f undamental pr i vacy and national security
 1➔       concerns that exist currently around the app l icat i on.         And
 15       they would have to have confidence that , . going forward, the
 16       software code was be i ng revised in the United States. that
 17       the app was no t transmitting data back to China, and they
 IS       wou l d have to look for any kind of vulnerabilities or back
 19       doors in the system.
 20            Sophisticated, large companies, I would think , would be
 21       economically incentivized to try to address those issues, but
 12       it would obviously depend on the structure of the
          transactions.
               Mr . Ca r ter .   And that is going to dow ngrade the value of
 25      TikTok and t hey are going to come back at us and want to be
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                                                                                         85


           compensated for that.          Don ' t you thin k?
      ')
                  Mr . Newman.      They may try.      But, f or exam ple, when we
      3    orde r dive s t ments in CFIUS, some of the same calculations
      4    app l y .   Someone has to buy - - we had a divestment of Grindr.
      5    whic h was a dating app th a t was bought by a Chinese company .
      6    Whoever bought that app had to f i nd a wa y to address some of
      7    t he nation al sec urity conce rn s that existed , and people still
      8    pay a price .     It may br i ng the pr i ce down.          It may l im i t some
      9    of the buyers.         But I don ' t th in k --
   10             Mr. Car te r.     Right .
   1I             Mr . Newman.      - - it would
   12             Mr. Carter.       Right.
   13             Mr. Newman.       - - s l ow the market.
                  Mr. Carter.       Let me ask yo u , when the CEO of TikTok was
   15      here, I asked hi m about the collection of biometric data.
   16      And, you know , it is the only ti me I ha ve ever gone vir al on
  17       the internet, and they -- it wa s n 't in a good wa y .              They were
  18       mak i ng f un of me, a nd that is fine.
  19              But my point is, hav e you go tt en any examples of whe r e
  10       that has happened, where the apps a re using biomet r ic data or
  21       collec t ing biometric data?
  -, '")

  '").,
  -·'
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          ,.,
                 (12:20 p.m.]
                                         -                                                    86




                       Mr . Newman .   Ti kTok spec i f i ca 1 1y or any?
           ..
          .)           Mr . Carter.    Any of t hem .
         4             Mr . Newman.    Lots of app s collec t biometric data.
          5      genetic in forma t i on , for example.      Apps collect your
          6      fingerpr i nts.
          7            Mr. Carter.     What about Ti kTok ?
          8            Mr. Newman.     TikTok -- at a minimum , you know tha t
         9       Tik Tok has a t re mendous database of some of the public, of
    IO           people's faces, of people ' s voices.
    II                 To the question th at was raised ear l ier abou t be ing able
   12            to spoof voices and faces, it is an inc re dibly powerful
   13            dataset .   And I think t he r e is no question tha t over time the
    l➔           ri chness of that dat a is just going to grow .
  15                   Mr. Carter.     Okay.
   16                  One last question.         We have noticed a rise of
   17            ant i -Sem itis m on th e app.     Are you seeing that?       I s t here any
   18            proof of that that you ca n sha r e wi th us?
  19                   Mr. Newma n .   I am aware of some of the ou ts ide studies
  20             t ha t hav e s hown dispropo r tionate na r r ati ves l ike t ha t on th e
 21              TikTok app.
 22
 ..,.:...)....



                      Mr . Carter.     But is it happening?
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                                                                                           87


                Mr . Newman.




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          --    Mr. Car t er.
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          -     Mr. Newman.


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  10            Mr . Carter.      Right .,   Okay .     Well, again, thank you for
  11      your se r vices .     This is very impo r tant.
  12            I yield back .
  13            The Cha i r.     The gentleman yields bac k .
  14            The chair recognizes Mr. Ruiz for 5 minutes .
  15            Mr. Ruiz.       Hi.   Thank you for being here, all of you,
  16      and thank you for your service.
 17             Under this legislation. China is considered a foreign
 18       adversary, requiring ByteDance to divest its ownership to a
 19       nonfo r eign adversary.
 20            And I want to go back to the comments and concerns about
 21       the potential purchase of TikTok by an entity that then can
 22       become a monopoly in this space.
                So. under this legislation. I mean. is there a way that
 24       we can preve nt that from happening, or i s this just a
          reactionary_ effort?
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                And this is to you, Mr. Newman.          What can we do to
   ,       safeguard that from happening dur ing this divestment?
                Mr. Newman .      It is a great question.
   ➔            I don ' t think anyth i ng i n this act suspends o r limits
   5       the antitr ust pri ncip les that apply to mergers and
   6      acqu isitions .   So whoever bought th e app would have to comply
   7      with and assu re ant i trust regulators that they had met the
   8       r equirements of U.S. antit rust.
   9            Mr. Ruiz.       Does that happen after the pu r chase, or is
  10       that somethi ng that will be evaluated to prevent a purchase
  11       if that happens?
  12            Mr . Newm an.     As I -- I am not an antitrust lawyer, but
  13      as I unde rstand it. you would have to still go through the
  14      Hart-Scott-Rodino filings and the other processes that would
  15      need to occur in order to decide if you coul d complete a
  16      me r ger under U.S. l aw.
  17            Mr. Ruiz.       Okay.   Given that the Protecting Americans
  18      f r om Fo r eign Adversary Controlled App li cations Act does not
  19      define ''executed" wh en it comes to the divestment of a
  20      company , has the Department provi ded any pot en t ia l guidance
  21      on how it intends to defin e and i nterpret the execution of
  ''      such divestments?
                Mr. Newma n.      I am not aware of specific guidanc e about
  2➔      what that pro vision would mean.        But, f or exampl e , in t he
          CF IUS context there are ins ta nces where someone will
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          temporarily provide the asse t t o a t r usted th ird party, who
   1      will ho ld it pending completion of a merger or sale .
   3            So I don't know whether that is a possibi li ty unde r th is
   4      law , bu t it does occur i n the CFIUS context. where you find a
   5      tru stee or f i duciary to hold the asset until such time as i t

   6      can be sold .
   7            Mr. Ruiz.     Woul d that be a priv a te company t hat would be
   8      t ha t trusted entity?      Who would make up that third party
   9      person?
  10            Mr. Newman.     So in the CFIUS context that I am fami l iar
  II      with, sometimes you would fin d. for examp l e, a boa r d of
  12      former national security officials who would ope r ate the
  13      company as a proxy board until such time as the foreign
  14      ow nership cou l d be f orma ll y transferred to a new buyer.
  15            Mr. Ruiz.     Okay.   We have had hearings on cybersecurity
  16      t hreats to utility compa nies .    We are having this
  17      conversation about TikTok and th e potent i al na ti onal security
  18      threa t that i t poses.     And we ha ve not rea l ly addressed the
  19      shortage of cybe rsecu rity experts that we have in our
 10       country.
 11            And so I really recommend that t his commi t tee l ook at
 11       ways t hat we can bolster the cybersecuri t y wo r kfor ce t hat we
 23       so desperately need i n our company and how we can promote
 14       cy bersecurit y hygiene with all American users of any device
 15       so they c an be more aware and pro t ective of their
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                                                                                        90


            information.
      -,         With that, I yield back.
      ..,
      .J         The Chair.     The gentleman yields back .
                 The c hair recognizes Mr . .Duncan and for 5 minutes.
     5           Mr. Duncan.    Thank you. Madam Cha i r.
     6           Thanks. guys, fo r being here.
     7           I don't have TikTok on my phone. I don't have chatGPT on
     8      my phone, I don't have WhatsApp on my phone , because of
     9      foreign access to data there, although it is broadly used
  IU        across the globe.
  11             I probably have watched TikTok reels via Instagr am.              So
  12        the first quest ion I have for you, should we be concerned
  13        abou t any co l lusion or data access via Instagram or any other
  I➔        social media app where TikTok videos are uploaded and viewed
  15        by guys like me who are sitting in an airport just killing
  16        time before our f light, watching reels?
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 2➔              Mr. Duncan.    Different apps?
                 Mr. Newman.
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    6          Mr. Duncan .   Any other guys want to comme nt on t hat?
     7                            I would just high l ig ht is we have a
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 17            Mr. Grover.    And the only thing I would add -- I am also
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               Mr . Duncan.   I am going to switch gears, Jona t han.
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                                                                                           92


                Are there examples of TikTok moderat ing or cur ating its
   ")
          cont e nt in r es ponse to a reque st f rom Chi na or Chinese
   3      Gov e rnment?


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 14             Mr . Newman .   I f I can   j us t    add one poi n t .
 15             ByteD ance , whi c h owns TikTok.
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                Mr. Gr over.
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   6           Mr. Duncan.     Th at was my follow-up question.         -
   7                                                                          Can
   8      you e laborate on t hat a little bit?
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  13           Mr. Duncan .
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  16     -
               Mr. Grover.


               Mr. Duncan.     Yeah.   Okay.
                                                                   -
 17            Madam Chair, I don't have any further questions .             I do
 18       have some time if any of my mem be rs -- I wi ll yield to
 19       Mr. Gri ffith.
               Mr. Griffith.     I just want to make s ure when I do my
 21       stump speec hes I am no t get t ing in troub l e.
 22

 23                                        i s that somet hing we can talk
 24       about publicly?
               Mr. Grover .
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                Mr. Griffith.     Okay.   Thanks.
   2            I yield back to the gent leman.

   3            Mr. Duncan.     Madam Chair. I yield back.
                The Chair.     Okay.   The gentleman yields back.

   5            The chair recognizes Mr. Peters for 5 minutes.

   6            Mr. Pe ters.    Thank you very much, Mada m Chair .      Thanks
   7      for this hearing.
   8            I would say, f ir st of all , I am ve r y imp r essed with you r
   9      command of this information.       I am convinced.      I don ' t have
  IO      an issue with going forward with this.
  ll            The difficulty, Mr. Newman. of you not having your civil
  12      lawyers here is we don't know what happens next to the le vel
  13      of detail that vou a re able to tell us about what is
  I➔      happening now.
  15            We are walking into a major lawsuit.         I was going to
  16      fol low up on Mr. Grif fit h ' s thing.   I thin k that you may have
  17      misspoke.    The issue of whether t here is a takings and under
  18      the Fifth Amendment, I don't have my phone so I ca n 't look up
  19      any of the language. but you have to estab l ish a public
  20      purpose .   You have clearly done that.      But I don ' t think the
  21      pub li c purpose affects the value of what you have to pay for,
  22      the finding of a publ ic purpose affects the value of what you
  23      have t o pay fo r if there is a taking .
  24            And so I am thinking -- I am sort of t hin king what does
  25      the lawsuit look li ke?      I assume they will argue t he bill of
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          attainder.     I assume that they will argue that there ha s been
    7     a taking of a pr oper ty .    I don't know whethe r they will
    3     dispute whether ther e is a public purpose, but t hey are going
   -1-    to ask for money.
    5           The ov erlay i s that i f Meta buys it, if Meta is the
    6     buyer, we a re go i ng to have the antitrust concerns that
   7      Ms. Sc hakowsky was tal king about .      And clearly, that could
    8     affect the va l ue . right. of wha t they get?
   9            So I don't know if you have an y previ ew for me of what
  10      we a re looking at in terms of the li tigation we a re goin g to
  11      see and how this plays out, whether it is after a sale or
  12      before a sal e.      What can you tell us about that?
  13           Mr . Newman .     It is a great quest i on.
  1-1-         Mr . Peters.      Thank you.
  15           Mr. Newman .      So, first of all, I did meet with the c i vil
  16      litigators before coming here specifically in r eference to
  17      that lin e of questions.
  18           And I di d -- and one of t he things that they to ld me is
  19      that . fi r st of all, there is a long doctrine of reg ul ato ry
 20       takings and whether or not regulato ry takin gs c reat e
 21       actionable em i nent domain and takings clause cases.
 17             In gene ra l the government wins a lot of those cases ,
 23       beca use every reg ula tio n has economic impacts on compani es.
 2-1-     And as long as the regulation has a broader ap plicat ion and
 25       purpose, typically that is able to get you past it unless you
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          hav e completely destr oyed the value of the as se t.
                Mr . Peters.     Although in this case, we are deprivin g
   3      ownershi p.     But go ah ead.
   4            Mr . Newman.     Well, we are depriv ing ow ne r ship, but in a
   5      way that is consistent wi th how the nationa l s ecurity space

   6      operate s in this area.
   7            I do know even fr om when the time t ha t I clerked on the
   8      Supreme Court that the t akings doct rine has evolved.            And I
   9      am sure that, with their very highly pa id lawyers, t hey will
  10      make those argument s.
  II            But fun dam ental l y, the Civil Division lit i gators who
  12      have been li t igating against TikTok believe that they ha ve
 . 13     good arguments in res pons e to the takings clause questions.
  14            Bi ll of att a inde r , same thing.    I t hink the que stion
  15      would be, is this impermiss i ble punishment of t he company,
  16      amo ng other t hings?     And we believe that this is not a bil l
  17      that imposes impermiss ib le punishment.         It imposes an
  18      ownership change of t his appl i ca tion and s imilar categor ies
  19      of applic atio ns.
 20            They will make First Amendment argument s , as was don e in
 21       the Montana case.       But , aga in, I thin k the Federal Government
 .?~      has a much st r onger foot i ng.   And foreign ac t ors genera lly
 23       hav e lesse r argument s under t he First Amendment t han do
 24       U.S.-b as ed companies and ci tizens.
               Mr. Peters.      So does this get f i led the day af ter it is
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          signed. or do we wait to see i f they are able to sell it?
   ..,            Mr. Newman.     I would think that when this ge ts signed .
   3      there is a ve ry good like lihood that t hey will seek to
   4      li t igate.    I also think. though , that th ey are a for-profit
   5      company and they will want to a lso ex plor e hav i ng a buyer for

   6      the platform.
   7              I have been among the people directly nego t i ating with
   8      the company. and I think the company has an incentive to
   9      sell.      Whethe r the Chinese Government will accede to that
  10      right away I think is a sepa rate ques t ion.
  11              Mr. Peters .    And how does the a ntitrust issue play into
  12      the litigation if the buyers are Meta and Goog le ?
  13              Mr. Newman.     Mv understa nding is whichever comoanv wo ul d
  I➔      buy t his would have to satisfy the antitrust re gu lators. as
  15      would occur in an ordinary case.
  16              Mr. Peter s .   Assuming that we don't want Meta. who has
  17      got Reels as the only competition, to be the buyer. and we
  18      have raised , as a country, some antitrust objection to
  19      po t ent ial ly void the sale, how does that af fec t the
 20       l itigation?
 21               Mr. Newman.     I don't know that that hel ps TikTok's claim
 22       that this is a taking, because every large company is subject
          to antit rust laws if it wants to sell itself to another
          buyer.
                  But I do think, to your point. that it will be importan t
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          that whoever buys i t is able to satisfy the antitrust
          regulato rs that they have complied with U.S. antitrust laws.
                  Mr. Peters.      All right.    Well. it will be interesting to
   ➔      see .    But I rea ll y sincerely appreciate your work, and it has
   5      been very professional and helpful.            Th ank you.

   6              I yield bac k.
   7              The Chair.     The gentleman yields back .
   8              The chair recognizes Mr. Dunn for 5 minutes .
   9              Mr. Dunn.     Thank you very much, Madam Chair.         And let me
  10      than k the ranking member as well for thi s hearing.             It is an
  II      important subject.         It is complicated subject matter.
  l~              And as an aside. I would like to say I was stunned by
  13      Representative Cardenas' story of the deepfake phone call
  14      supposedly from his son .
  15              So the first question, FBI, DOJ, one of you, are there
  16      any true smoking guns evidence of TikTok targeting,
  17      manipulating, blackmailing U.S. citizens with the data that
  18      they collect?
  19              Mr. Grover.      I am sorry.   Could you repe at t he question?
 20               Mr. Dunn .    Sure.   Any true evidence, I mean hard
          evidence of blackmail, ta rgeting , manipulation of Ame ric an
          citizens by TikTok or other similar applications?
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   3
          -    Mr. Dunn.     So my follow - up quest i on would be to ODNI.
          It i s the same quest i on about mi li tary personnel. because we
   4      know they have a high inte r est in military personne l .
   5           And I with ala r mi ng regul arity get noti f icat i ons that my

   6      military record has be en hac ked again and again and again.
   7            Is there anything you notice?
   8           ODNI.
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  19           Mr . Dunn.
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 21            ODNI.
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 24            Mr. Du nn.    FBI, we mentioned thi s earlier, all uded to
 25       minors' use of Ti kTok.     What do you think are the gr eatest
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                                                                                    100


           risk. briefly, the greatest r isk to minors using TikTok at
    1      this t i me ?
    3            Mr. Grover.


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    7      bu t kind of the broader risks to minors would be outside of
    8      my purview.
    9            Mr. Dunn.      I guess I am fortunate I am old enough ,
  10       because there were no cell phones when I was growing up.
  11             ODNI, what CCP maneuvers can we expe ct following
  12       imp lemen tation of th i s law so that they can cont inue thei r
  13       col lectio n and use of United States c it izens' data?
                 OD NI .   That is a great question.
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                 Mr. Dunn.      Di d you want to add to that?
  2-+            Mr . Newman.
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   6             Mr. Dunn.     So i n the last year I have been added to t he
    7      Select China Committee and the Artifici al Int elligence
   8       Committee.      And I have to tell you. the conju nction of those
   9       two and the threat that TikTok and similar applications
   lU      pre sent are mag nified by my participation in both of those
  11       comm itt ees.
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  17             But I thank you very much. gentlemen. for your serv ic e ,
  18       and thank you for tak in g time to be with us today.
  l9             Madam Chair. I y ie ld back.
  20             Mr. Lat ta.    [Presiding.]    Thank you.     The gentleman
  21       yields back.
  ,,            The chair now recognizes t he gen t leman f rom Florida' s
  23      Nint h District .
                Mr. Soto.      Than k you. Mr. Chairman.
                Thank you all f or being he r e.
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                   I believe t he two bills do strike that right balance.
   ~       We need to protect Americans.         We need to protect our
   3       national security, our democ r acy.
   4               We also need to protect access to a popular app called
   5       TikTok. which millions of Americans enjoy, along with

   6       Facebook and X and so many others.
   7               Since today we are helping establish the r ecord, it
   8       would be gr eat to hear from Just i ce, why isn ' t this a bill of
   9       attainder. for i nstance?
  10               Mr. Newman.     So , first of all, I think the bill of
  II       attainder clause is about impermissible punishment, and we do
  12       not vi ew this as a punishment in the same way we do not view
  13       this as a ban.
  14               It requires a dives t ment to a d iff erent owner, which is
  15       the same remedy that exists, for example, under CFIUS.               There
  16       are also some other technical arguments that I know we are
  17               Mr. Soto.     Consider this your oral argument prac t ice
  18       here.     Why is it no t an ex post fac to l aw?
  19               Mr. Newman.     I think ex post facto would suggest · that
  20       there is a criminal aspect to this.          That is a clause that
  21       applies to the crimina l law.       Again . there is nothing
  22       criminalizing about this bill. and it doesn't apply
  23       retroactively to conduct that predates the enactment of the
  24       bill.
                   Mr. So to.    Why wouldn't this be a taking, do you think?
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                 Mr. Newman.      A takiAg -- there are a number of different
   2       catego ries of taking, but one of them would have -- a
   3       regulato r y tak ing typi cally involves complete and tot al
   4       destructi on of the value of the asset. which i s not the case
   5       of what t his bill would accomplish .

   6             There ar e also other arguments about especially fore ig n
   7       buyers and foreign investors and how much they are even
   8       protected at all by the Fifth Amendmen t ta kings clause in
   9       this context, given that it is a foreign parent owner of th e
  10       asset .
  11             Mr. Soto.      And why isn't it a Fi rst Amendment violation?
  12             Mr . Newman.     So, f irst and f oremost. it goes back to the
  13       point that there is noth i ng being banned he r e.        There is
  14       simply a requi r emen t to change ownersh ip to a responsib le
  15       owner.    So if you are not banning anything , I think that i s a
  16       very different proposition unde r the First Amendment.
  17             It is also the case t ha t the company, Byt eDa nce . I think
  18       its Fir st Amendmen t interests a re pr etty l imited.        Th e users
  19      of ByteDance and -- t he users of the TikTok platform have
  20       rights, but, again, those r ights are not infringed by
  21      some th ing t hat regulates the ownership of the app on wh ich
  ''      they are transacting .
                Mr. Soto.       Wou l d this bil l apply to any other companies
  2➔      sim i larl y si tuated right now?
                Mr. Newman.       This bill di r ectly applies to Ti kTok and
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           ByteDance, and t hen it provides a process that wou ld have to
   ,       be set up by the executive branch to determin e if any othe r
   3       companie s meet t he criteria that is ta rgeted and s peci f i ed i n
   4       the bi l l.
   5             Mr. Soto.      And you had t estifie d a l ready, while there is
   6       no exact modern day exampl e or parallel, Huawei gives us
   7       actually a more extreme mea s ure we had to t ake.
   8

   9                                         And we are not even req ui ring an
  10       elimination of TikTok .       We are si mply requ iring a change of
  l l      ownership.
  12             So would you say t hi s is ac tually a le ss str i ct remedy
  13       than we had to do with Hu awei ?
  14             Mr. Newman.      I think i t is a more targe ted remed y
  15       because it could be accompl ish ed simp l y by a change in
  16       owner sh ip , wher eas Huawei you have to pull it out of th e
  17       ~e l ecom inf rastruct ure in its ent i ret y .
  18             Mr . Soto.
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                 We wi ll star t with our na t ional sec urity f olks, go t o
          Jus tice. and then the FB I.
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                                                                                       105



                 ODNI.

                 Mr. Grove r .
      '

      4          Mr. Soto.       Any opinions by Justice?
      5          Mr . Ne wman.     I t hi nk we have seen some outs i de experts
     6     point to content on t he pl atfo rm t hat they th ink is more
      7    reflective of anti-Semitic narratives on TikTok than other
     8     platfo r ms.
     9           Mr. Soto.       Well , we need some inside expe r ts t o l oo k at
   10      this as well to the exte nt that wha t ever dat a you have.            I
   ll      rea l ize you wil l be ab l e to make an opinion abo ut the
   12      fidelity of your co nc l usions. but a lot of us are seeing well
   13      beyond anecdo t al evidence that the r e is alr e ad y in f lue nce on
   1-1-    U.S. policy r i ght now, even setting aside elect i ons , based
   15      upon the type of - - the numbe r of posts fo r one perspective
   16      versus another that we a r e seeing.
   17            So I appreciate you all agreeing to take that back to
   18      you r r espective of fices, because t his is something we need
   19      you to help analyze to help us form an opinion .
  20            With that, I yi e ld back.
                 Mr . Latta.     Thank you.    The gentleman yields back .
  22             The chai r r ecognizes t he gentlema n from Alabama's Sixth
  23       District for 5 minu t es.
  2-1-          Mr. Palmer.        Tha nk you, Mr . Chairman.
  ...,
  _ )
       -        Gentleme n, I wa nt to r aise some questions about the fact
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           that the Chinese Communist Party bought golden shares in
    ,      ByteD ance, and t hey were able to appoint one of the three
    3      directors, a guy named Wu Shugang.            Thi s is a guy who sent
    4      out a tweet that said, " I have on ly one wish, that one day I
    5      can c ut off the dog head of liberal Chinese people wit h
    6     Western valu es . "       He added, "Le t the Chines e traitors
    7      pr eac hing so-called human rights and fr ee dom go to hell. "
    8              This guy wa s a lso overseeing t he regulation of the
    9      inte r net i n Ch ina.     I think he ap poin ted th e censor at
  10      ByteDance.       Tha t i s pro blematic in and of itsel f.        But it
  11       should als o be noted t hat the laws under the People's
  12      Republic of China permit the CC P to have acces s t o the data
  13       that Byt eDance co llect s.
  1-1              Th eir 20 17 Na tion a l Int el lige nce Law compe ls pri va t e
  15      en tities and i ndividuals to cooperat e wi th state intel l i ge nc e
  16      work .     Specifically, Article 7 of the law declares that any
  17      organization o r citizen s hall support , assist, and cooperate
  18      with s t ate i ntellige nce work, according to the law.
  19               I th ink this is wh ere i t start s to become pro blema tic,
  20      because -- and I see you guys noddin g -- we really haven ' t
  21      addr es sed what t he bigger issu e is he re , and that is, in
          te rms of a threat to our national secu ri ty, Ti kTok may be
          ide ntified separately f rom Byt eD ance, but in terms of how the
  2-1     CC P sees th em , they are one.
                   Would y~u agree wit h th at?
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                                                                                          107



                     Mr . Newman .    I would agree that ByteDan ce i s a wholly
   ,      owned -- I believe whol l y owns Ti kTok and th a t By teDa nce has
   3      very strong tie s to th e Chi nese Communist Par t y.
                     Mr. Palmer.      ByteDance con ta ins an i ntern al co r porate
   5      CC P comm i ttee. thro ugh wh i ch they e xercise inf l uence over
   6       tha t company and other companies. because they have done with
   7       this other companies as wel l .
   8                 And I have forgotten you r nam e f rom the FBI.           You are
   9      nodd ing and kind of grinning.             So would you like t o add ress
  10       t hat ?
  II                 Mr. Grover.      Which aspect, again?      I am sorr y.
  12                 Mr . Pa lmer .   Well, the f act that t his i dea that - - an d
  13      th e CEO of TikTok came in and testi fied . and I do believe
  I➔      that he misrepres ented things.             I th ink he l ied to Con gress.
  15                 There is no que s tion in my mind that the CCP e xerts
  16      contro l over TikTok.           The ir law r equires it .     And then here
  17      the r e is another statemen t from t he De par t ment of Ju st ice
  18      fi li ng agai nst Ti kTo k in 2020 th at Byt eDa nce contains an
  19      in t e r nal co rp orate CCP comm itt ee thro ug h wh ic h they exerci se
  20      in fluenc e at the company.
  21             And even more pr obl ema tic, ther e are 300 current TikTo k
  11      or ByteDance employees with tie s to Ch inese state med ia t ha t
  23      a r e both employed by ByteD ance and TikTok and of ficia l
  24      Chines e propaganda arms at th e same t i me.
                 Mr . Grover.         We would absolutely ag re e wi t h Mr . Newma n
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                                                                                    108



           i n terms of t he conn e c t io n between the CCP and PRC Government
   ~      with ByteDance , and t hen obviously down throug h the chai n to
   3      TikTo k.

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  12            Mr. Palmer.    Thi s is pre c is e ly t he reason that Ti kTok
  13      needs to be divest ed, because a s long as t hev are oart of
  14      Byt e Dan ce thi s is going t o be a pr oblem .
  15            What most con ce rns yo u about what TikTok i s co llec ting .
  16      and do you or the Feder a l Gov e rnment kno w wha t Ti kTo k is
  17      sharing with the CCP?
  18            And part of t his is they a re getting about -- they are
  19      collecting about -- an eno rmous amount of data.
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  24            So I would like fo r you to respond to t hat, al l th ree of
          you . if you have something you wan t t o say abou t it.
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                                                                                   109



                Mr . Grover.   I ca n go first.    I thin k for us. it would
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   14           Mr. Palmer.
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   18           Go ahe ad, Mr . Ne wman.
   19           Mr. Newman.    One of t he things that I l e arned from my IC
  20       colleagues was th at
  21



  23            You saw Chin a 's respons i bili t y for t he OPM hack , for
  24       example. some years ago .
  .., -
  ..:..)
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   6            ODNI.   I would just add two t hings, because I think the
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                Mr. Palmer.   My last point on this --
  23            Mr. Latta.    I am sorry.   The gen tlema n's ti me has
  24      expired.
                Mr. Palmer.   Okay.   Thank you, sir .
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                                                                                     III



                Mr. Latta.       The chair now r ecognizes the gentlelady from
   '      Washington's Eighth Di stric t for 5 min utes.
                Ms . Schrier.      Thank you all for your work on our
   ➔      national security and all of your great answers today.
   )            I was going t o t e e off a l i ttle bit of Mr. Soto 's

   6      comments bu t tie that to election a little bit.
   7            Tell me if I am wrong on this.         2016 , I think there was
   8      plenty of evidence of Russian meddling and releasing
   9      information and s preading d i sinformation and maybe amplifying
  10      t hi ngs that wo ul d divide the count r y and make us hate each
  11      other.     Can you confirm t hat, maybe?
  12            Mr. Newman.       In multiple elections of recent elections ,
  13      t he intelligence communi ty has put out repor ts that high li ght
  14      efforts to sow div i s i on and divi s iv e narrat i ves by foreign
  15      adversar i es . i nc l uding - -
  16            Ms. Schr i er.     I wan ted to just confirm that for the
  17      whole room.
  18            2020 , I remember getting a br i efing, probably on Zoom o r
  19      the phone.
  10

  11                                                                      -
  13            The r e was -- again, correct me if I am wrong.          Okay .
  2➔      Then we had a secret briefing , so I have no notes.            I have
 25       very un c lear recollection.       But there was a secret
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     7           I s that confirming?       Ma ybe you don't know .     Do you
    8      recall that?
    9            Mr. Grover.
   10                                      That is worked out of a different
  1I       s hop fo r us.
   12            Ms. Schrier.     Okay .
   13

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                 But now, as Dar re n was talk in g about. we have go t th i s
  17       I srael-Gaz a thing, Rutgers.       Do any of you off the top of
  18       your head have the num bers about the diff e rence betwee n
  19       anti-Israel. pro-Pale st inian/Ga za on TikTok ve rs us Instag ram
  20       and ot her social me dia , lik e of f t he top of your head?
  21            Mr. Newma n .    I am fa mi liar wi th the gen e ra l stu dy. bu t
  71       not the specific numbers.
                Ms. Sc hr ier.    Okay.    I will look up the Rutgers study.
  2--1     Again, no devices here.
                But it seems lik e r ight now that is ce rt ainly d iv id ing
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                                                                                  113


           our party l ike crazy.    It is causing all kinds of civil
   2       discord.    It could easily sway this e le ction, I mean, among
   3       other thi ngs .   If masks potentially could have swayed th e
   ➔       last one then this could sway this one.
   5            And so I guess one is just your comments about that and
   6       how you are loo king at that.
   7

   8            But then the second is, given the actor that Russia is.
   9       do we know if China is selling this i nformation or giving
  10       this information to Russia for their use?
  II            Mr. Newman.    So recog nizing tha t I think my two
  12       colleagues don't work in the foreign malig n influence space,
  13       here is I think what I can say for today.


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  l1            Ms. Schrier.
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  13            At some poin t. off the record or later you can . answer a
  14      question about what constitutes a safe U.S. buyer, but I have
  15      one more question.
  16 •          Let's say this happens, this goes down.           We decide to
  17      mandate that it gets sold.       There is divestiture.       Immediate
  18      retaliation.     Like, do they stop buying our agriculture
  19      products?     Do t hey suddenly rele ase a storm of i nformation
  20      about peopl e?     Like, do you an ticipa te -- maybe t hey jus t
  21      release all th e informat i on to Russia.       They could hurt us i n
          a lot of ways right away.
  23            Mr. Latta.     Co uld you answer t he question briefly for
  2-t     Ms. Sch rier ?
                ODNI.
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  12            Ms. Schrier.      Thank you .    Yield back .
  13            Mr .    Latta.   Thank you.
  14            The chair recognizes the gentlelady from Arizona's
  15       Eighth District for 5 minutes.
  16            Mr s. Lesko.     Thank you, Mr. Chair.
  17            As you said, this leg is lation specifically calls out
  18       Ti kTok and ByteDance.     I don't know the reason for that, i f
  19       tha t was political or legal .
  20            And so my question is, is it helpful or hurtful legally
  21       to name the company ins tead of just broadly rejecting all
  ''       companies that would do something egregious?
                Mr. Newman.      From a liti ga tion pe r spective, naming
  24      companies gives another argument that they could raise in
  25       litigation.     But just to reinforce what I said before, our
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   ...,
                                   -
           litigators stand ready to defend the bill in court.
                                                                                    116




                 Mrs. Lesko.      So I think what you sa id is that legally,
   3       as far as them suing. i t would legally be be tter if we just
   ~       generica lly address the situation instead of naming a
   5       particular company.       Did I hear you correctly?

   6             Mr . Newman.     If you looked at it narrowly through the
   7       lens of litigation, I think there are some additional
   8       arguments we will have to contend with because t he company is
   9       named.
  IO             But just to go back to somet hing that was asked ea rli er. •
  ll       the re are examples in other contexts. like Federal
  12       acquisitions, whe re companies like Huawei, Kaspersky, and
  13      others are named in legislation and they are not able to
  I➔       prevail on bill of attainder and some of the other arguments
  15      we have heard.        And sol th ink we stand ready to respo nd to
  16       thos e.
  17             Mrs. Lesko.      And I need some clarification on this
  18       legislation.    Would it just apply to TikTok and ByteDance. or
  19      does i t apply to any similar company from an adverse nation?
  20             Mr. Newman.      It applies directly to TikTok and
  21      ByteD~nce, and it authorize s the executive branch to develo p
  ~~      a process to determine that other companies meet simila r
  23      characterist i cs with a series of cri t er i a.
  2➔             So i t wouldn 't automatically apply to any other
  25      ent iti e s , it would only apply to those two. but the re would
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                                                                                         117



          be an authority t o designate ot her entities i f they met t he
   2      c r iteria of the leg i sl a tion.
                 Mrs. Lesko.        Tha nk you.
   ➔             My next question is. wh en did India ban TikTok and how
   5      did the y do it and did t hey publicly say i t was fo r national

   6       secur i t y re asons ?    Do any of yo u know?
   7             Mr . Newma n .     I am not an expert on th eir leg islation .           1

   8      do know that I ndia and China have a very complicated
   9       r elationship across many ve cto r s .        And I know that in r ec en t
  10      yea rs th ey ha ve taken increasing ac tion s to make TikTok
  11      unavai l able in India.
  12             Mr s. Lesko.       And c an you repea t whic h count r i es would
  13      qualify as a foreign adversary in this legislation?
                 Mr. Newma n.       So this legislation cross -c ites to a
  15      spec ific s tatu tory pr ov i sion
  16             Mr s. Les ko.      Ri gh t.
  17             Mr. Newma n.           that i nv olv es f our cou ntr ies .   The
  18      countries are China , Russia. Iran. and North Korea.
  19             Mr s. Le s ko.     And I have a couple minutes left , so I am
  20      going to ask you a quest i on totally unre lat ed.
  21             My exper ienc e in bu ying came r as, came ras at my home ,
  22      th ey a re all made in China .          Most of them are all made in
  23      China.     My husband had witne ss ed that they call ed back to
  2➔      China .    And so even NOAA -a pp r ov ed came r as inside our house,
  25      outside our hous e were made in China .             He has set up an inn er
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                                                                                               118


                loop so t hat i t doe s not call bac k to China.
          ..,         Have any of you in vestigated this at all ?              Do you know
          3     anything about wha t I am talking abou t ?

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      13             Mrs. Lesko.        And who would I talk to?           Who would I call?
       14       Who would my of fi ce call to f ind out more abou t thi s ?            Woul d
       15       it be t he FBI?       Who do I call?
      16             Mr. Grover.        I wou ld cer ta inly encou ra ge you to call the
      17        FBI dire ctly i f it is a con cern for you r per so nal si t uat ion
       18       as well .
      19             Mr s. Les ko .     We ll , my husb and l ikes gadge ts and th i ngs
      20        li ke that, and he has said lik e all the cameras are made - - I
      21        don't know if a l l of th em - - bu t a majority of the cameras
      ')")
                a re mad e in Ch ina and th at they did call ba c k.           They ca lled
      ? ....
      _ .)      back to China.
      24             And so that would be a huge nation al secu r ity r isk if
      ,-
      _ :,      t hey ar e collec tin g data inside our homes .            But thank yo u.
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                Mr. Latta .     Thank you.     The gentle l ady yields back.

   2            Mrs. Lesko.      I yield.
    .,
   .)           Mr. Latta.      Thank you very much .
   4            And the chair recognizes the gentlelady from
   5       Massachusetts ' Third District for 5 minutes.

   6            Mrs. Tr ahan.     Thank you, Mr. Chair.
   7            And thank you to the panel.         This ha s been super
   8       in fo rmat ive , i llumi nati ng all of t he above.
   9             I am actually going to focus on the second bill, not t he
  10      main event , the Pro tec ting Amer i cans' Data from Foreign
  II      Adversaries Act.
  12            Is t here anything in that bill that would protect
  13       against a middleman that could buy the data and tr a nsfer it
  14       to a foreign adversary?
  15            Mr . Newman.     I probably would have to look at the bil l
  16      more closely, but I know the definition of data broker is a
  17      fai rly broad definition.         And my sense would be that if the
  18      mi ddleman was inside the United States or subject to the
  19       jurisdiction of the Feder al Trade Commission under that bill,
  20      then they wou l d likely be violat in g the same provision,
  21      because the definition of data broker is one who transacts in
          data that yo u, as the acto r, did not collect from t he --
  23      directly f rom the person who had it .         And so that would be a
  2-t     definition that would encompass some of the midd l e actors
          that you are talking about.
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                Mrs . Traha n .   Correct.   But t he re cou ld be a company
    ,      that is started the day af ter this bill that is not a foreign
    3      adve r sary, not one of the f ou r you just named. that could be
    ~      in th e business. because this is a di r ect transfer between a
    5      data broker and a foreign adve rsary.
    6           An d I just ask that question because I am sure you have
    7      exampl es of how the data comin g out of brokers is used to
    8      target our int elli gence officers, our se r vi ceme n and -wome n.
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  13            Mr . Newman.                                               I ■

  15       raised, the executive order that was en ac ted, t ha1 was sig ned
  16       i nto law and the r ul em aki ng proces s contemplates a
  17      prohibition on directly or indirectly mak ing transfers of
  18      s uch data to f oreign advers ar ies and a nti ci pates that when
  19      you are selli ng data to other middle actors you would ge t
  JO      represe nta t ion s an d assuran ces f r om them that t hey would
  ] I     commit not to onwar d transfer the data .
                Mrs. Trahan.      That is a t ough one to enfo r ce .     I mean,
          thi s is a cut -a nd - paste.   So if you a r e -- we are having
  24      issues sort of pat rolling that t oday, those t ransfers , how do
          we t hink we a r e goin g to do t ha t if there i s a -- the r e is
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           j us t a -- I think it is a gaping loophole in t he bi ll as
   1      written.
   3            Mr . Newman.    I think -- I can spea k more to the
   ➔      executive order, which I worked on fo r some time,

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   9            From DOJ ' s perspective     a nd we have enforcement under
  10       the executive order -- even if you can get one hop away and
  11      enforce ag ains t that actor, that is a useful th i ng.
  12            So if you have a company that is set up, let's say. in
  13      UAE that i s a proxy compan y th at buys the data and t hen sells
  I➔      it onward, if t hey are making false representations and they
  15      are selling the data - -
  16            Mrs . Trahan.    Our data brokers have a c re dentialing
  17      process for that?
  18            Mr. Newman.     Well, the sal e by data brokers of sales is
  19      prohibited if it goe s dire ctly to fo r eign adve rsa ries.      And
  20      if they are se l l ing to anybody else, they would have to get
  21      essentially reps and commitments that they are not sell i ng it
  11      onward.    And if those commitments were false, then there
  23      would be potential avenues of invest igation that could follo w
  2➔      t hose false statements in fur t he r ance of a violation.
  25            Mr s. Trahan.    If an individual could opt out of t he
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           collection of data to be used by data brokers, don ' t you
   2       think you would have an inter nal po li cy where our IC and our
           law enforcement and our servicemen and -women would do that
           tomorrow?
   5            OD NI.    That is a great quest i on.    I am not the best

   6      person to answer.      I mean, it is a really good question,
   7       though.
   8            Mrs. Trahan.     Well. because then the data is never
   9      collected and it i s never stored, so it is not at risk for
  10      being transfer r ed to any body.
  11            And I imagine t he policy of our U.S. serviceme n and
  12      - women could not be targeted because we wou l d have a policy
  13      to just opt out of all that data collection for data brokers.
  I➔      never mind what regula r consumers would do.
  15            Mr . Newman.    To your point, I t h ink ther e is a l ot of
  16      overlap between the value of data pr ivacy laws and the
  17      nationa l securi t y harms that we are worried about with
  IS      respect to specific populations. such as servicemembers and
  19      IC personne l .    And I th i nk if you had laws like that, they
  20      would also have that benefit.
  21            Mrs. Tra han.    Look, I think we all on this committee, we
          are on the record as wanting a comprehensive privacy law .
          Bu t absent that , we know that this type of data could be used
          for blackmai l and worse.
                And so if we are going to sort of mark up and event ually
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           vote on a bill today. I want it to be foolproof so that it is
           not stored or at risk of being transferred .
    3           Would you agree that that is a better opt i on?
   -l           Mr. Latta.      Could you answer the gentlelady very
    5      quickly?    Her time has expired.

   6            Mr . Newman.     We would be happy to work with you at any
    7      technical assistance that you th i nk would make sense to
    8      further address your concerns.
   9            Mrs . Trahan.        Thank you.
  10            Mr. Latta .     Thank you.        The gentle lad y yields back.
  II            The chair now recognizes the gentleman from Texas'
  12       Second District for 5 minutes.
  13            Mr. Crenshaw.         Tha nk you, Mr. Cha irman.
                Thank you all for being here.
  15            I think by intuition we understand what the threats are
  16       from China and what their potentia l i ntent ions are.              And
  l7       t hose intentions have to do with their doctrine of
  18       unrestricted warf a r e. which i nc l udes nonmil itar y warfare,
  19       psyc hological warfare. medi a warf are, cultural warfare.                This
  10       i s part of their extended domain view. which adds di fferen t
  21       domains to conflicts.
  22            And so I think we r i gh t f ull y loo k at TikTok as quite the
  23       tool should they choose to use it an d something that we are
  2-l     envious of even.
  25



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                                                                                  124


                My question is, do we have any -- and I think I know th e
   1       answer, beca use you have said it a few times, but I just want
   3       t o make sure.


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   8       -
   9            ODNI.

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                Mr . Grover.
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  19            Mr. Crenshaw.   Yeah .

  20      -
  21            ODNI.

  22



  24            Mr. Crenshaw.   Okay .   Yeah.   I mean, a lot of my
  25      questions have already been answered.        And I had another
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           really specific one that I have fo rgo t ten. so I think I will
           yield bac k .   Thank you.
                 Mr . Griffith.     Would the gentleman yield?       Would th e
   4       ge ntl eman yield t o me instead of yielding back?
   5             Mr. Crenshaw.      Okay.   I will yield my time.

   6            Mr . Griffith.      He sa i d, okay , fine, Mr. Chairman .
   7            Mrs. Les ko as ked the question          if I could ask Mr .
   8       Newman .   Over here.     Mrs. Lesko as ked a question abo ut namin g
   9       ByteDance and Ti kTok and then the second tier .
  lU            My assumption has been -- correct me if I am wrong --
  11       that one of the aspe cts of the second ti er, if you didn' t
  12       name the companies and you just had that secon d tier to set
  13       up th e c r it eria. is that to set the criteria up you would
  14       ha ve to fo ll ow the APA. the Admi nistrative Process Ac t . and
  15       th at that could t ake a lot of time .      And if you didn't do
  16       t hat correctly, t hat would be an additiona l line of
  17       l itiga tion th at TikTok and Byte Dance coul d bri ng.
  18            So this. whi le it has ne gati ves , it a l so has the
  19       positives. that you ge t right into litigation. yo u argu e it
  20      out while the Adm i nistrati ve Process Act and the other
  21       criteria or the ot her process is being deve l oped by the
  ~2      executive branch .       Am I correct in tha t assessment?
  23            Mr. Newman.       I am not sure that t he entire APA process
  24      would dictate how you would have to make the factua l
          determination .
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                                                                                       126


                But I thin k your general point is correct. that by
   1       Congress having these hea rings and then making the findings
   3       directly, it obviously hap pens faster and more de finitively
   ➔       than i f t he executive branch conducted its own r eview and
   5       then made finding s .
   6            Mr. Griffith.       I now yield back to the gentleman from
   7      Texas .
   8            Mr. Crenshaw.       Thank you.     I reclaim my time.       I
   9       r emembe r the ques t ion now.
  10            So does this leg i slation actually ban the app or does it
  ti       just ban futu re downloads of the app and updates?
  12            Mr. Newman.       It effectively -- if there is no
  13      divestment, it would pr ohibit acto r s suc h as the Apple App
  I➔      Store and Google Play and oth er s who would support the
  LS      distribution and operation of the app.
  16            Mr. Crenshaw.       Right.   So it wou ld disappear fro m app
  17      stores for future users. but current users would still have
  18      TikTok.    And it does nothin g to act ually stop the data flow
  19      fro m the app, which is a technical possibility that we could
  20      do but that is not what we are doing here.
  21            Mr. Newman.       It does n't do it directly.        I think other
          actors who would be supporting the data flow s would have to
          look careful l y at the bill to decide if they were on the
          r ight side of the l i ne.
                Mr. Cr e nshaw.     Like telecom companies?
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                   Mr. Newman.
                                      -
                                    Right.     And there is an exception for some
                                                                                         127




           of those actors, but it depends on how the                  the technical
   J       way that the app works, I think, who would be subject to it.
   4       But, at a min i mum, I think the App Store, Google Play, some
   5       of the others who they need to be able to reach a U.S.
   6       audience would no longer be able to distri bute it.
   7               Mr . Crenshaw.     Right.    We l l, what do you th i nk AT&T
   8       would do if this was passed into law?              Have they been
   9       consulted?     I mean, we have had a lot of conversations about
  10       this.
  11               Mr. Newman.      It is a good question.        I think different
  12       actors may have different risk tolerance for the bill .                 But
  13       fundamentally, I think the reason everyone is getting calls
  I➔       today from those who TikTok is activat i ng is because I think
  t5       they are ve r y concerned that if the bill became law it would
  16       be very difficu l t for them to continue to operate their
  17       products with a U. S. audience.
  18               Mr. Crenshaw.      Okay.    I hope it i s , but I am not sure it
  19       would be.     Okay.
  20               Thank you.    I yie l d back.
  2t               The Chair.    [Presiding. ]     The gentleman y i e l ds back.
                   The chair recognizes Mr. Veasey for 5 minutes .
                   Mr. Veasey.      Thank you, Madam Chair.
                   I just have one question for you.           I know that a lot of
  25      what I have heard -- and I have been in and out. so let me
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                                   -
           just say that, you may have already touched on th is -- but a
                                                                                     128




     ,     lot of what I have heard is, as this data is being collected,
     3     that i t could pose a very serious fu t ure threat.
     ➔          For people that are concerned about now -- and of
     5     course, you sat through the same. similar type briefings that
     6     all of us in here have that talk about how the Chinese think
     7     about t hings lon g term.      They think about t hings 5. 10, 15,
     8     20 years f rom now.     But in America we alway s thin k about
     9     today.    We always think about how something affects us now.
   JO           And as Members of Congress, we have to go and sell what
   II      we are doing to the American public.          So what t ype of threat
   12      are you comfortable telling the American public now how this
   13      affects them, and particu larly the TikTok users that are very
   14      loya l to this particu la r pla tf orm?
  15            Mr. Newman.      So fi r st, I would highlight that no one is
   l6      suggesting that this legislation would end the platfo rm .            It
   17     would simply transfer it to responsibl e owne rship .
  18            In t erms of the r isks right now. I think right now the
  19      da ta that people are generat i ng on the app, both public but
  20       also pr i vate data, is potentially at ris k of going to the
  '.21    Chinese Government. being used now or in t he future by the
  ') ')
          Chin ese Government in ways that could be deeply ha rm fu l to
           tens of mil l ions of young people who might want to pursue
  2-t     careers i n government. who migh t want to pursue careers in
          the human r i ghts field, and who one day could end up at odds
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                                                                                         129



          with the Chinese Government's agenda.              So I think that is a
   1      concern right now, because they are generating t he
   3       information right now.
   ➔             I t is also th e c as e that the narratives that are being
   5      c on s umed on t he pl atform. there is a risk right now t hat
   6      those narratives are being affected by the algorithm and that
   7      the Chinese Government potential l y has the right to censor
   8       information that the Chinese Governmen t decides it does no t
   9      want t he Ameri can pu bl i c to know .
  JU            And when you look at the sta t ist i cs of the number of
  ll      young people who, for example, get their news and information
  l2      from TikTok now versus just 3 years ago, it is striking to
  l3      what degree those narrat i ves are resonat i ng with young people
  14      i n America.
  15            So, fu ndame ntally, I th i nk the message would be, this is
  16      not a ban.     This is something that simply t ransfers it to
  17      responsible ownership.         And there are risks righ t now of
  18      having addit i onal data colle c ted and stored by t he Chinese
  19      Government for uses in th e future.
  20            Mr. Veasey .     Yeah.    One of t he t hings t hat you did say
  21      earlier in your testimony is that if t hey say no to an
  11      Amer i can company being able to run Ti kTok USA that they could
          just say, "We just won't have the platform i n America then if
          that i s o u r only al t e r nat i ve . " whi ch would . i n these pe op 1 e ' s
          eyes. tha t wo uld be a ban to them.
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                   Mr. Newman.
                                   -
                                 It is somethi ng that is a scenario to
                                                                                   130




    1      discuss.
    3              I think, first, I think tha t ByteDance th e company wo uld
    4         be very mo t ivated to find a way to sell the platform .      I t is
    5      worth potentially as much as $100 billion do ll ars right now,

    6      and the re are executives and shar eholde r s who would want to
    7      see it so l d for value .
    8              Second. t here would be     in a world in which t he
    9      Chinese Government acted, I think we have seen in t he past
   10      that they have been reluctant to dramatically escalate in
   ll      this space.
   12              There have been a number of U.S. legislative actions .
   13      taken, for example. with respec t to Huawei . which was once
  14       one of t he most succ essf ul Chinese companies, to try to l imit
   15      its presence in t he U.S . market and with U.S. consumers.
   16              And a lthough Chi na has responded, t hey have respond ed in
  17       a measu r ed way, because at the end of the day China has a lot
  18       of agendas in th~ world and they, frankly, have many onero us
  19       restr i ctions on our compan ies inside China .
  20              And so it is not clear to me that a rest riction on a
  21       Chine se compa ny i nside the Unite d States would trigger that
  .,.,     type of dramatically esca l ator y reacti on .
  23              0DNI.

  24      -
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     8            Mr. Veas ey.      Than k you .
     9            Thank you. Madame Chair.          I yie ld back .
   10             The Chair.       The gen tle man y iel d s ba ck.
   11             The chair recognizes Mr . Joyce for 5 minutes .
   12             Mr.   Joyce.     Thank you . Madam Cha ir.
  13              And thank you for being here today.             I think this has
  14       been inc redibly i nfo rmative .
  15              I would like some nomenclat ure if we can, plea se.
  16              Would you cu rr ently de fine TikTok as malwa re?
  17              Mr. Newm an.      I don't know if I would go quite t hat f ar .
  18

  19              Mr. J oyce .     If I am on TikTok and I activa t e that it has
  20       access to my photos or has access to my contact list, is
  21       TikTo k ma l wa r e ?
  ') ")
                  Mr. Newm an.      I thin k lots of apps that operat e in a
  23       commercial way collect a lot of info r mation .             So the
  24       definition of what is malwa re is pro bab ly a lit tle bi t in the
  25       e ye of the beholder .
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   5            Mr. Joyce.

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  IU            Mr. Newman .     I t hink what I would be comf ortable sayi ng
  II       is that this s tops a potent ia l threat that is resident on t he
  12      phones of 170 million Amer i cans or however many act iv e users
  13      there a re in any giv en month , and tha t is a very significant
  14      clear and present dan ger to the Uni t ed States.


  16      ha rvestin g of da t a , and it is a t hre at pf pushing o r
  17      ce nsoring nar rati ves in de fer ence to t he Chinese Government.
  18            Mr. Joyce.     And I would say, th us ,
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                             -
                So we all recogni ze that t he ha r vesting of data by
          Byt eDanc e has on Amer ica 's sen s i tive individual dat a an d t he
  22      use of Ti kT ok.
                Do you f in d t hat any of t ha t potentially could be
          reversible, or has t hi s done ir reparable damage that we a re
  25      not ·goi ng to be able to pull back?
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   2
                Mr. Newman.
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   .,_,




   5            ODNI.
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   9            Mr . Joyce.   So the divestitur e that th is legislation
  10       would do -- and we had the CEO i n front of us and many of us
  11       fee l i n a very untruthful dialogue back and forth.
  12            So he talked about walling off of American data during
  13       his testimony here.    Do you think that with divestit ure and
  1➔       allowing Byt e Dan ce to be removed and hav ing TikTo k ow ned by a
  l5       nonadversary, do you think tha t that walling off can occur?
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                                                                                       134


           [1:19 p.m.]
                 Mr. Newm an.    I think if a trusted company bought th e
   3       plat for m, they wou ld also want t o bu y some of the data t hat
   4       exists, that allows the pl a tform to operate. bot h to train
   5       the al gorith m an d to ensu re use r experi enc e cont i nues .      So my
   6       expectation would be that those assets would be part of the
   7       sale that wo ul d occ ur i n t hat event .
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  II             Mr . J oyce.   That is my question.
  12             Mr. Newman.     -- which i s a good question -- I thi nk we
  13

  1-t            Mr. Joyce .
  15             Mr . Newman.
  16

  17             Mr. Joyce .    That would be done.
  I8            And then just, finall y. how i mportant is i t particularly
  19      when i t comes to med i c al data?     Individuals are on TikTok .
  20      They ha ve access to that data.        Many indiv idua ls kee p a ll
  21      their medical data. including their medical records, on
  22      t here .
                We passed both pieces of legislati on.             What thr eat s are
  24      curre ntly pased in ihe space of medica l data reg arding
          for e ign adve r sarie s bein g ab le t o hol d that da t a, movi ng
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                                                                                  135


            forward as well?
       i         ODNI.
       3



       5         Mr. Joyce.    Ri ght.
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   16            Mr. Joyce.    Do you find anyone would be as interest ed in
   17       that data, whether it would be Russia, North Korea, or Iran,
   18       specifically regarding medical data?
   19

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  '") '")




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                Mr. Joyce .
                                    -
                              I thank you.
                                                                                    136




                Madam Chair. my time has expired.          I yield .
                The Chai r.   The gent l eman yie l ds back.
    -I          The chai r recognizes Mrs . Flet ch er?      Is that right?

    5           Mrs. Flet cher.     Yes.   Thank you.

    6           The Chair.    Are you next?
    7           Mrs . Fletche r .   I think so.
    8           The Chair.    Okay.
    9           Mr s . Fletcher .   Mr . Veasey came back.
  10            The Chair.    Very good.     Great.
   II           Mrs . Fletcher .    Thank you.    I have gotten used to it.
  12       being at the end and ba tting cleanup.        A lot of people show
  13       back up.
  14            And I just want to tha nk you all.        This ha s bee n a
  15       r eally, really, r eally helpfu l se ss ion I think for all of us .
  16       A lot of th e questions I had coming in have been answe red.
  17       But I kind of want to follow up on three things jus t to get
  18       my own sense of c l arity on a couple.
  19            One, there has been a lot of d i scus si on about t he
  20       specific naming of TikTok -- this question is for you,
  21       Mr. Newman -- the spec i f i c nam in g of TikTok in the bill and
  22       whether t hat is more he l pful o r less helpfu l .     And it seems
  23       like t here are legal a r gume nt s that can be raised and
  24       c hallenged if it is in there.
  25            But to what extent -- I mea n , I guess I want to know
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                                    -
           what you th i nk is better.          Ther e is one settin g up t he
                                                                                         137




    1      process by which t hen the administration would have to say

    3      TikTok fal ls under thi s process, which could poten t i a lly with
           all the quest ions about Chevron and other stuff this year.
    5      how much can the age nc ies and rule making are interpre tin g

    6      so r t of.
    7            Do you j ust ne ed the express intent of Congress that we
    8      are trying to deal with TikTok here?              I s that more usefu l to
    9      you despite the potential lega l argume nt s tha t might be made
   10      about the bill?
   II            Mr. Newman .     I thi nk it is very use f ul to us, the work
   12      that Congr ess has done.         From a litigation pers pectiv e, there
   13      are s ome bene fi t s to giving the executive branch the abili ty
   14      to act, i n additio n to Congre ss.          But I also underst and that
   15      there are some policy r eason s a nd other cons i derations why
   16      Congress wants to act quickly in this space given the
  17       nat i ona l secu r i t y concerns.
  18             Mrs. Fletcher.      And so this could e liminate setting up a
  19       process, foll owing the process, and a year from now sayin g,
  20       okay, TikTok f a lls unde r the process that we have just set up
  21       if we do it now .
                 Okay.     That was one quest ion.        Th ese are going to go in
  23       not really sequential order .           I have another question for
           Jonathan f rom ODNI. and possib ly you may know some thing abo ut
           it as well.
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                                   -
                But I have heard from some colleagues on the select
                                                                                    138




   ,       commit tee th at is dea ling with this t hat their own conc erns
   3       about -- that th ey have heard concerns not only about the

   ➔

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   8            ODNI.

   9            Mr s. Fl etcher.   Okay.
  10            ODNI.     ---

  II            Mrs. Fletcher.     Okay.
  12            ODNI .                                                    -
  13

  1➔            Mr. Grover .
  15

  16

  17            Mrs. Fletcher.     Okay.    Wel l, I will say that some
  18       members of the select commit tee hav e r elayed that the y heard
  19       that concern                                                       So I
  20       don't thi nk i t surprises anybody,
  21

  22            And the n my last real qu est io n, so we can keep mov ing
  23       befo r e votes, i s I th in k tha t everybody in here has
  24       anticipated and kind of touch ed on th e chal lenges, the phone
  25       calls we are all ge ttin g.     I did chec k.   We are getting t hem
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                                                                                   139
                                    s s:

           too.     Everybody is getting them.     And there is a
      7
           sophistication to that as well.        So I think there are a lot
      3    of concerns about what we can and cannot say outside this
      4    room.     Obviously, this is a classified setting.
      5            But can I take it that the unclassified information that
      6    we got from the DOJ today about the extent of the threat and
      7    national seturity is something that we can share in framing?
      8            And I think it would be helpful for the committee to
      9    frame the national security significance and these particular
  10       issues because of what we are seeing mobilizing today and
  11       into the future.
  12               And I think one of my questions is going to be, how do
  13       we frame this kind of going forward?        Because I think we can
  14       anticipate, and I am interested in -        again, sorry,
  15      Mr. Newman, you have been like on the hot seat all day.
  16       but kind of what you anticipate is the path forward.           I mean,
  17      do we anticipate that even if this is passed here, passed in
  18       the Senate, signed into law, there are going to be lawsuits
  19      challenging the divestiture?
  20               Like, what do you see as a reasonable path forward and
  21      sort of a realistic timeframe where we have to explain and
      1   kind of why this is so urgent?         And coupled with, as a
  7
          lawyer, I know the sort of slowness of the legal process in
  24      getting it resolved, how do we balance those?
                   Mr. Newman.   So, first, with respect to the fact sheet,
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           that is unclassified.
                                   -   Absolutely it ca n be shared.        It is
                                                                                      140




          not subject to the concerns around classified infor mation.
    ...
    .)            In terms of how this would play out, first of all. I
          t hink i f this bi l l passes the House. i f it becomes law. it
    5     does radically change the negotiating posture between the
   6      Un i ted States Governmen t and the company.          And I do think the
   7      company wi ll be very motivated to want to come to the table
   8      with a solution that prese r ves the value of their asset.
   9              So I think one is there could be some kind of negotiat ed
  10      r esolution.    I do antic i pate tha t they will also likely try
  II      to file litigation.      That i s what I think the ir lawyers are
  12      poised to do, and that is what they have sugges t ed .
  13              Again, we, our civ i l division, ou r lit i gators would
  14      handle that l i tigation .      And we as a depar t men t believe that
  15      we have much stronger arguments after th i s b i l l becomes law
  16      than we have today when we already have litigation with the
  17      company tha t i s being hel d in abeya nce in the D.C. Cir cuit .
  .18             In terms of the timeframe of how it woul d play out. i t
  19      i s a l itt l e bit difficult to say.      But I do think there i s a
  20      real ur gency t o thes e issues, and I think the company at a
  21      certain point would have the same ur gency to try to find some
          kind of solut i on for themselves i n the negotiations if they
          aren 't ab l e to succeed in litigation.
  24              Mrs. Fletcher.   Okay.     Tha nk you.    I have gone over my
          time.
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                                     -
                   So, Madam Chair , I yield back.          Thank you very much.
                                                                                          1-H




         1         And thanks to all of you.
         3         The Chair.      The gentlela dy yiel ds back.
         4         The ch a i r recognizes Mr . Weber for 5 minutes.
         5         Mr. Weber.      Thank you, ma ' am .

         6         We have heard about at l east one person in thi s country
         7   that owns a 15 pe rcen t sha r e of TikTok and, therefore,
         8   relu c tant to see this go fo r wa rd.       Do we ha ve a way of
         9   knowing how many Americans or we -- can we see t hat t rade?
   10        Do we ha ppen to know how many Amer ic a ns have shares of
   ll        TikTo k?   Do we know that?       Ar e we able to get that
   12        information?
   13              ODNI.     I was just goi ng to say, from the int ellige nce
   14        community ,
   15

   16                                     But I don't know from th e other s ide .
   17              Mr. Weber.      So I assume they are not listed on the
   18        New Yo r k Stock Exchange, huh?       Do we know that ?
   19              Mr . Newman.     We do n' t have the vi sibil i ty
  10               Mr. Weber.      Your mike is not on.
  21              Mr . Newman.      Forgive me.
  ...,   '        We don ' t have, I don' t have the visibility into the
             owner s hip str ucture to know a l l of the U.S. - ba sed owne r s.
  24              Mr. Weber.      Would that be benef ici al to know?
                  Mr. Newman.       I would certainly be interested to know
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            more about who owns it.             But my assumption is that, as a
       1    practical matter, the strongest ownersh ip inte r est is in
       3    China and among indivi duals who are subject to the
      4     jurisd i ction of the Chinese Government .
      5             Mr . Weber.     Okay.   And this is a little bit afield, pun
      6     intend ed, but the Chinese have been buying land.
      7             Anything related to TikTo k connec t i on?
      8             Mr . Grover.
      9

   lU               Thank you. ·
   11               Mr. Weber.      Okay.   So speaking of TikTok, which I want
   12       all my grandkids and even my great-granddaug hter to stay away
   13       from,
                                                                                -
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  ...,..,




                    Mr. Weber .
                    ODNI.
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  10            Mr. Newman.       In the context of the negotiations over t he
  11      fu tu re of the com pany, th ey have cer t ainly made some
  12      presentations about how the algori t hm works.
  13

  14

  15            Mr . We be r .   Okay .   And th is is probably more of a
  16      personal ques tion for a l l of us perhaps.         Are you all able to
  17      monitor any f lag s that would hav e a Member of Congress ' name
  18      associated with an even t, either ne far i ous or ot herw ise , off
  19      Ti kTok?

  20           Mr . Grover.
                                                                       ·-
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  22           Mr. Webe r.
  23

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               Mr. Grov er.
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  lU            Mr. Weber.     -

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                Mr. Grover.

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  14            Mr. Weber.     Okay.

  15            Mr. Grove r.                   -

  16            Mr. Weber.     Okay.   Fair enough.   Let me continue.

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    5           Mr. Weber.      Forgive the interruption. shortness.        -

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    9      -
   10           ODNI.   -
  11            Mr. Grove r .

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                                                                     -
  15            Mr . Weber .    Okay.   And one last question real quick.

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  18            Mr . Ne wman.

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                                                                                       146


                 Mr. Weber.      Thank you.
                 I yield back.
   3             The Chair .     The gentleman yi elds back .
                 Just so everyone knows, votes have been called.              We are
   5      going to go until 1:50.           Then we will break for votes.
   6             You will get a break.         You have been on the hot seat.
   7             The chair recognizes Ms. Barragan for 5 minutes.
   8             Ms , Barragan.     Thank you.
   9             My first question is about the timeline that the bill
  10      provides.     Considering the di fficulty of identifying a U. S .
  II      company that can purchase Ti kTok, can you ex plain why the
  12      bill provides 6 months for ByteDance to divest TikTok rather
  13      than a longer ti meline. like maybe a year?
  14             Mr . Newman .    I can ' t speak to the choices that the
  15      dra f ters made in the bill, except to say, in ot her contexts
  16      in CFIUS, when we ha ve done divestments, we have often been
  17      able to accomplish t hose divestments in 6 months .
  18             I agree with you t hat t hi s is a very sign if icant
  19      acquisit i on that would have to be made by another buyer.
  20             Ms . Barragan.     Okay.     So I have been reading that the
  21      that you all worked with the drafters of the bill, is that
  22      accurate, for technical assistance?
                 Mr. Newman .     We provided technical assistance I t hi nk
  24      largely wi th an eye toward litigation-re l ated risks and
          lega l .
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                Ms . Ba r r agan.     Okay .   Was the timeline -- do you know if
   ,      the timeline was discussed at that time, the 6 months o r
   3      longe r ?
                Mr. Newman .        In versions that I saw, the timeline was
   5      open for a period of             fo r a number of drafts.       It was not

   6      actually spelled out in the document.               So I am not su r e t ha t
   7      we provided specific assistance on t hat, but I can have ou r
   8      leg team le t you know.
   9            Ms . Barragan.        Okay.    The next question is. the bi l l
  10      defines for e ign adversary-cont ro lled application as a
  II      applicatio n that is ope r ated by, one, a company controlled by
  12      a f o re ign adve r sa r y and then, two , that is determined by the
  13      Pr esident to pr esent a significant threat to the United
  14      States .
  15            Do we need to have bot h of those f o r this to go into
  16      ef f ect?   Do you need to have a foreign adve r sary and does t he
  17      President have to dete r mine that t here is a s i gn i f i cant
  18      th re at?
  19            Mr. Newman .        That is my unde rs tanding of how the bill
 20       opera t es, is that in orde r to i dent i fy and designate
 21       additio nal applications that would be subject to t hi s bill,
 22       the r e would need to be both a finding of national secur i ty
          ha r m and a fi nding that it meets the c r iteria of being a
          cove re d applicatio n wit hi n the meaning of the statute .
                Ms . Barragan.        So hypothetically speaking, let's say
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          TikTok was Russ ian owned and it is a foreign adversary , but
   ,      we had a President in the White House that didn't really
   3       think Russia was a t hreat and, therefore, determined that
   ➔      TikTok was not a s ignificant th reat, this would not kick in,
   5       right, because you would have to have the President determine
   6       it is a significant threat?     Is that accurate?
   7            Mr. Newman.     It is accurate that for entities other than
   8      TikTok and ByteDance. there would need to be a determination
   9      by t he executive branch.
  IO            Often when the President is referenced in statutes, what
  II      will happen is the r e will be some kind of executive o r der and
  12      rulemaking process that will give differ en t executive branch
  13      agenc i es the ability to make those determinations.
  14            Ms. Barragan.    Okay.   Jonathan, earlier        I don't know
  15      if you can remember the context.      Very early on in the
  16      hearing you made a comment.     You looked down and you -- looks
  17      l ike you were reading something.
  18

  19            Do you remembe r what that reference was to so I can get
  20      clarification?
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   5            Ms. Barragan .     Okay.   So you have no memory of the -- I

   6      just wrote "                             ," and I tho ught it was in
   7      the context of talking about the threat or speci fi c examples.
   8      It was very early on in like the first fe w questions of the
   9      hearing .      If you find it , if you will just come back to me.
  10      that would be helpful.
  11            ODNI .    Yep.
  12            Ms . Barragan.     I meant that to understand that you just
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                                                                   -■
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  16            But did I misunderstand that?
  17           ODNI .
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               Ms. Barragan.      Okay.    My l ast quest i on is. FBI. DOJ. you
          guys are currently, I have been hearing, that you a r e
 25                                                                  Is that
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          righ t ?
                                     -                                                   150




   ")
                Mr . Newman.       We cer t ainly are expe nding a lot of
   3      energies in looking a t t he threat of t he Chinese Government.
   4

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   7            Ms. Barragan.        Okay.     So what the
   8            Mr . Newman.       -- on th at basis .
   9            Ms. Barragan.        Okay.     Than k you.
  10            The questio n , because I am running out of time here, if
  11      there is a cut to your budget, DOJ and FBI, i s tha t going to
  12      impact you r ability to do your job on Ti kTo k and these
  13      foreign adversaries?
  14            Mr. Newman .       I f there is a cut to the nationa l security
  15      division's budget, i t would a f fect br oadly our ability to do
  16      lots of thi ngs involving t he Gover nment of China and its
  17      tech nology, correct.
  18            Ms. Barragan .       Great .   Thank you .
  19            I yie l d back .
  20            The Cha i r.    The gen t lelady yie l ds back.
  21            The chair r ecog ni zes Mr . Balde r so n f or 5 minutes .
 21             Mr . Balderson.       Thank you , Madam Chair.
                Jonat han , do you wan t to answe r the question?            So I will
 24       give you that time .
                ODNI.     Than k you .   Yeah, we f ound the po i nt you a r e
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          referenci ng.
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   7            Mr. Balderson.     Madam Chair. I apo log ize.     I did not go
   8      through the chair.
   9            Thank you a ll.
  10            And since my great colleague from Massachusetts brought
  II      up my data broker's piece and the mi ddleman. I am going to
  12      shift and go complete oppos i te here , get away from ByteDance .
  13            But, Brent. I guess it is going to be you predominantly
  14      here from t he FBI.     And so let's stick on the Ch ina stuff.
  15      Let ' s stick on the data collection they do.
  16            A solar panel compa ny that is 49 percent owned by China
  17      and 51 percent owned by the U.S . jus t opened up in the
  18      congressional distr i ct that I represent.       I am concerned
  19      about that, and the commu nit y is very concerned about t hat.
  20      It has really brought an uproar here recen t ly.
  21            Mr. Walberg also has a Ford Motor battery plant that is
          going i n his distr i ct, and I don ' t want to speak for him
          because he is not here, but that is also a partnership with
          China.
                I mean. I am concerned the solar manu facturing facility
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                               -
          could be learning sensit i ve information about our grid.        I
                                                                                152




   1      understand t his is a hearing focusing on the ByteDance .
   3      Where do we draw the line here in this country as far as
   4      having a 49 percent China-owned solar manufacturing company
   5      and a 51 percent owned U.S. company here?
   6           Mr. Grover.
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   8            Mr. Balderson.      Any ideas or thoughts I should tel l the
   9      constituents where t his faci l ity i s located?       I mean, just
  10      tel 1 them that, I guess?
  JI            But, I mean , and the hard part also was it really wasn' t
  12      talked about amongst the deal.       You know, there - - yeah,
  13      China part nership, maybe, but not 49 percent partnership.
  1-t           So okay.      Thank you .
  15            Now go ahead, Jonath an.
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  21            Mr . Balderson.     Yeah. that is on my list.      I am going to
  22      go down that path.
                ODNI.

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   4            Mr . Balderson .     Would that access be          would that
   5      information be allowed to come to us also as Members of

   6      Congress?
   7            ODNI.     I can talk wi th
   8            Mr. Balderson.       Okay .
   9            ODNI .    -- OLA about that.
                Mr. Balderson.       Thank you very much.
  II            Madam Chai r, I yield back .
  12            Does anybody want my ext r a time?
  13            Madam Cha ir , I yield back.
  14            The Chai r .     The gentleman yields back .
  15            You don't have any questions.
  16            The chai r recognizes Mr. Fulcher fo r 5 minutes.
  17            Mr . Fulcher .     Thank you, Ms. Chairman. an·d the panel.
  18            This question goes to anybody on the panel tha t might
  19      want to add r ess it, and it is on a related note.            But let's
 20       take a hypot hetical situation.       You got a t hi rd-pa r ty data
 21       br oker in a f r iendly country, not the U.S. but a friendly
 22       count ry .    And that third-party data broker is actually a
         • f r ont fo r an adversarial government.
 14             I s there, f r om your vantage point, anything in this --
          these pieces of legislation that might add to the toolbox to
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                                   -
          address that, or is that something we need to take up in a
                                                                                      155




          totally different set of language?
                Mr. Newman.      So as I read this bill. if it v-1ere outside
   ~      the United States and it was an entity that was not within
   5      the definition of data broker, then it wouldn't be covered by

   6      the bill .
   7           When we -- when we put in place the executive order, we
   8      have language about directly or indirectly providing that
   9      data to an adversary country, and we have othe r ways to t r y
  10      to deal with those kind of intermediary issues.
  II            Mr. Fulche r .    Okay.    So but this probably wou1dn' t cover
  12      it, or you think it probably would?
  13           Mr. Newman.       My understanding of the bill is that it
  14      appears to be principally focused on direct transfers between
  15      those who meet the definition of data brokers and adversary
  16      countries .
  17           Mr. Fulcher.      Okay .
  18           Mr . Newman.      So you would need to have both of those
  19      present.
 20            Mr . Fulcher.     Okay.     Got it.   Thanks.
 21            So on a related note, previous hearing in this committee
 22       we talked about --


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                                                                                     156


                Same question.      In that context, does this add anything
   ~      i n the toolbox for those circumstances?
   3            Mr. Newman.     So. certainly, those threats go beyond what
   4      this bil l is focused on .       I do think that the threat of what
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  l I          Mr. Fulcher.       I realize this is a little bit off of that
  12      s ubje ct, but I just -- I wanted to for the recor d just try to
  13      get an understanding.
               Moving on.       It is ~y understand ing that China has a
  15      cybersecurity law of 2017 they put in place.             It allows,
  16      amon g many things, the Ch inese Government to conduc t remote
  17      inspection of compute r networks.
  18            Is this your unders t anding?      Is t his your understanding
  19      to be true?
 20            OONI.     Yes.   So we see -- what we see i s
 21
                                                    -
 24       -
               Mr. Fulcher.      Okay.     So I am going to go back to the
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          previous question.
                                       -
                                       Given that context. anything in this
                                                                                               157




    '     legislation that might add to the toolbox for that?
    3           I am just trying to find the guidelines of where we got
   4      to go next. because
    5           Mr. Newman.       I don ' t th in k this di rect l y - -
    6           Mr. Fulcher.       Oka y.
    7           Mr. Newman .      - - addresses
    8           Mr. Fulcher.       All right.
   9            Mr . Newman.      --    those issues.
  10            Mr. Fulcher.       Ve ry good.
  l1            Madam Chair, I know we ar e on a time crunch.                     I have got
  12      more. but I am going to go on t he record elsewhere .
  13            I yie ld back.
  14            The Chair.       The gentleman yie l ds back.
  15            The chair recognizes Mr. August Pfluger for 5 minutes .
  16            Mr . Pf luger.     Th ank you. Madam Cha ir .
  17            And thank you all fo r testify i ng in front of my
  18      subcommittee on Homeland Security.                That was ext r emely
  19      helpful.
  20            I want to get right to the point on the heating and
  21      cooling issue .       And so probably primarily f or the two of you,
  22      ODNI and DOJ, let's t alk abo ut -- but anybody please
          answer -- let's talk about the heating and cooling.                       Have you
  2-t     seen specific i nstances of industry, of people, of milita r y ,
                            .                    .                       .
          geopolitical events . ongoing legal cases that TikTok has
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                                   -
          weighed in and has used heating or cooling to change the
                                                                                    158




   2      outcome, to influence the outcome l ike t hey are doing today
   3      agains t l awmakers?     Have you seen other ins t ances of that?
                ODN I.
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  20           Mr. Pfluger .      Does Christopher Wray still maintai n that
  21      the platform can be used as a manipulative arm of the CCP?
 :22           Mr. Grover.       Yes.   And I think we have established here
          just some of those vectors and how that would kind of take
          place.
 25
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   ?            Mr. Pf luger.     I appreciate the great testimony today,
   3      and I yield back.
   4            The Chair.      The gentleman yields back.
   5            The chair recognizes Mrs. Harshbarger for 5 minutes.

   6            Mrs . Harshbarger.     Thank you. Madam Chair.
   7            Thank you guys for being here today .
   8            I guess our bill does not apply to e-commerce companies.
   9      And my question is, TikTok al l ows e-commerce on t hei r app.
  10      Coul d ByteDance simply sell the social media part of the app
  11      and maintain t he e-commerce componen t?
  12            Mr. Newman.      I think ByteDance could try any number of
  13      things to attempt to evade the bill, and I would have to look
  I-+     more at the findings that are made.          I think as long as it
  15      was still ByteDance. the entit y, and TikTok. the entity, I
  16      think they would have a problem. given the way the bill is
  17      st ructured.   But t hey migh t try any number of ways
  18           Mrs. Harshbarge r.      Yeah.
  19           Mr. Newman .         to t ry to evade the bill.         And that is
  20      why it was important t here be follow-on authority that the
 21       executive branch cou ld use to designate oth er companie s.
 22            Mrs. Harshbarger.       I guess somethin g you said earlier.
          How do we determine that there has been a bona fide
 2-+      divestment of Ti kTok, and how do we determi ne, I guess, a
                                               .                   .
          bona f i de buyer?    Because the bill requires that, in
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                                                                                      160


          coordi nation with all executiv e br anch agenc ies, including
   ....   the Na t ional Security Agency and the Committee on Foreign
           Inves t me nt in the United States, the President will determi ne
   4      if Ti kT ok is divested comp letel y .
   5            You mentioned that you would have to sit up a lis t of
   6      criteria.     Do we not have t hat, I guess , cri t eria a lready ?
   7            Mr. Newma n.     So as a practical matter, what I think
   8      would happen i s tha t when the President is gi ven those k i nds
   9      of authorities in the bil l. they would need to set up,
  JU      usually using an execut iv e orde r or some kind of rul emaki ng,
  II      a process fo r determining that the criteria of the bill had
  12      been met.    And t he best probably t emp l ate for doing so would
  IJ      be the process we have for determining that a divestmen t has
  14      occurred tha t meets the require me nts of CFIUS.
  15            Mr s. Harshba rge r .   So we would have to do t hat after t he
  16      bill i s pass ed?
  17            Mr . Newma n .   Well, t he execut i ve branch would have to do
  18      th at, I guess --
  19            Mrs. Ha r s hbarger.    The executive branch .
 20             Mr. Newman.      -- woul d have to set it up to make that
  21      determ ina tion --
  12            Mrs. Hars hbarger.      Okay.
                Mr . Newman.     -- as we do i n the CFIUS con te xt.
  24            Mrs. Harshbarge r.      We have four forei gn adv e r sary
  25      e ntities listed in our legi s l a tio n .    And my question is. how
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                                      -
          or would you inform the committee if other foreign entities
                                                                                        161




   2      who should be added to the list would be added. and would we
   3      have to alter the bill in its current state?
                  Mr. Newman.     So there is a process set out in the bill
   5      for adding entities.           It requires, among other things, a
   6      public notice of the Presidential determination that sets out
   7      the concern, as well as a public report to Congress that must
   8      be submitted 30 days prior to the determination.
   9              And so there is both a public piece. as well as a pub lic
  lU      report to Congress, all of which have to be submitted prior
  II      to t he time at which the action would take effect.
  12              Mrs. Harshbarger.       You me ntioned you had seven adversary
  l3      nations.      Who are the other three?
  14              Mr . Newman .   So the exec -- the legislation has four --
  15              Mrs . Harshba r ger.    Uh-huh .
  16              Mr. Newman.     -- using a statutory definition.          The
  17      executive order has seven. which also includes Cuba,
  18      Venezuela, and -- it may be s i x.           I think I said seven, but
  19      it is at least six that were in the executive order, and
  20      there may be a seventh that --
  2I              Mrs. Harshbarger.       Okay.
  21              Mr. Newman.     -- escape me at the moment.
                  Mrs. Harshbarger.       All right.    And my last qu estion is
  24      this:      Do you have any evidence of elect i on interference in
              .                   .
          this current cycle as of today?
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                                                                                    162



                ODNI.    On that one, I would have to, again, pivot back
   2       to the Foreign Malign Influence Center and t he elections
   3      coordinator because I am certain they are tracking that and
   4       they can probably provide a better briefing than I could.
   5            Mrs . Harshbarger.    Maybe we need a briefing on that.
   6            Okay .   With that, Mr. Chairman, I -- or, Ms. Chairman. I
   7      yield back.
   8            The Chair.    The gentlelady yields back.
   9            The cha ir recognizes Mrs. Miller-Mee ks for 5 minutes.
  10            Mrs. Miller-Meeks .      I thank you, Madam Chair .
  lI            I thank our witnesses for being here today.
  12            My questions are very brief beca use I think a lot of
  13      questions have been asked.       And this is in follow up to
  14      Mrs. Harshbarger's question that is there a re a lot of
  15      e - commerce sites which are actually Chinese owned or Chinese.
  16      So whether it is e-commerce, whethe r it is reading sites,
  17      lite r ature sites, and couldn't these sites be used to do the
  18      same ki nd of thing as far as gathering i nformation?          And
  19      then. do we continue to follow those or mon ito r those?
  20            Mr. Grover.   I can tak.e this one.       Thank you .   Thank you
  21      for the question.
  22

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                                 -                                                  163




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   7            Mrs. Miller-Meeks.       And then very quick question.        Given
   8      wha t has happened to Chinese tech owners and CEOs of
   9      companies, Jack Ma, Ben - - Bao Fan, shou·ld Congress -- should
  10      we pass this ban here and then pas s it t hrough Congress and
  11      it is signed into law -- this is a really weird question
  12      but do we need to put Mr. Chow in protective custody?
  13

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  17            Mrs . Miller-Meeks.      I yield back.
  18           The Chair.    The gentlelady yields back .
  19            The chair recogn izes Mrs . Cammack for 5 minutes.
  20            Mrs. Cammack.   All right.     We a re going for it .
  21

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       .....)

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       5                Now, of course, in the las t 24 hours, we have seen how
      6         they can absolutely, utilizing geolocation data of their
      7         users, pinpoint what congressional distri ct and then freeze
       8        the app unless you take an active -- an action through the
      9         app itself.      So, I mean, that in itself should be pretty
    IO          concerning for everyone.
   11                   And I have gone through the device data accessible on
   12           TikTok, and it is interesting because the connection
   13           i nterfaces don't explicitly say -- and I went through their
   14           terms of service           that the y can , in fact, use the
   15           geolocation data.
   16                   Is there something f rom the DOJ side that is going to be
   17           able to po int to that as a violation of terms of service that
   18           we can look into?        Would that complicate what we are tryi ng
   19           to do here or would that be nefit what we are trying to do
  20            here?
  21                    Mr. Newman.      So it is a good quest i on.
  ')')
                        If there were some degree of deception in their terms of
  ,__,...       se rvice
  24                    Mr s. Cammack.     If?
                        Mr. Newman .     -- or in the collection of their
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                                                                                     165


           informat ion, which t here may we ll be. the immedia te remedy
   2       would probably actually be a remedy by the Federal Trade
   3       Commission, wh i ch typicall y handl es those types of instances
   4       of violation s of privacy policies and violations of terms of
   5       service.
   6             Mr s . Cammack.     Uh-huh.
   7             Mr. Newman.       Conceivably, i f i t rose to the level of an
   8       offense, for example , a vio lation of the Computer Fraud and
   9      Abuse Act , 18 U.S .C. 1030, the n there might be a basis for a
  10       criminal i nvest i gation. but it wou l d depend.       I wouldn ' t want
  11       to speculate in a hearing about, you know, that par t icular
  12       fact pattern without more information.
  13             Mrs. Cammack.       So and to t hat point, though , so there


  15       pixels that are embedded. so kind of like cookies and how you
  16       track , rig ht ?
  17

  18                                              Can you speak to that?
  19             Because I t hink that that would be something this
  20      committee would be very inte r ested in.         I t is one thing if
  21      you have signed up and agreed to the te rms of service of an
  21      app.
                                          I think that members would be very
  24      cu rious to know that.
                 Mr. Grover.       So I am not an expert on the l aws
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                                       -
           surrounding t he use of ad pixels and that technology.
                                                                                               166




   2              Mrs. Cammack .       Right.
   .
   .)             Mr . Grover .


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   6              Mrs . Ca mm a ck .   Of co u r s e .
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  12              Mrs. Cammack.        Okay.     From -- well. and I was looking at
  13       some of t he time li nes .       And there was one thing that I found
  l➔       pretty intere sting, and I wonder if there was a direct
  15       co r relation with the IC community and your visibility i nto
  16       the company and some of the thin gs happening around i t.
  17              So the founder of TikTok, the parent company ByteDance,
  18       in 2017, he had been basically publ icly admonished by the
  19       CCP.    And they came after him.                He had to i ssue a pub l ic
  20       apology and said -- in 2018                    and said , "I apologize for
  21       deviating from" -- and this is a quote -- "socialis t core
  22       va l ues, and I pledge to ensure that the CCP's voices are
  23       empathetically broadcasted. "
  2➔              Goes on to talk about all the different ways that they
  25       are going to use ByteDance , and ga ve ve r y specific examples.
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                                                                                  167


           Then you fast-forward to 2020. and they make a real shift in
   2       implementing this .   And I fee l l ike we went dark .
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  10            Mrs. Cammack .   Ri ght.
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  19            Mrs. Cammack.    Well, and j ust as· more of a confirma tio n
  20      of my research,
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  2-t

                This seems to be the first case that I have be en able to
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                                    -
           find where the CCP actually appointed someone from the CCP to
                                                                                        168




   '       the board.
   3             ODNI.

   4             Mrs. Cammack.      Thank you.
   5             ODNI.
   6             Mrs. Cammack.      Thank you.
   7             With that, I yield.
   8             The Chair.      The gentlelady yields back.
   9             The chair recognizes Mr . Obernol t e for 5 minutes.
  10             Mr. Obernolte.       Thank you very much.        Thanks for your
  11       pa t ience.
  12             Jonathan. we will start with you.             I lo ve the fact that
  13       we are using first names .          I think this should be the
  14       practice going fo rward .         Change a l l of our name tags.      It
  15       would be much be tt er.
  16             This is an issue I am r eally struggling with.              You know,
  17       on th e one hand, I don't th i nk anyone on this dais relishes
  18       the pro spec t of telling 170 million Americans that t he
  19       government is going to ma ke the decision for them what social
  20       media app they use.       The civil libertarian in me shudders at
  21       t he prospect.      On the other hand, I am absolutely convinced,
  22       as you are, that the situation with Ti kTok and ByteDance
           r eprese nts a latent national security threat.
  24             So, for me, the crux of the issue i s. how likely is
  25      TikTok to exploit that na t ional secu r ity th rea t ?         And thi s is
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                                 -
          what I wanted t o ask you about, because we hav e ta l ked about
                                                                                 169




   ~       t he situation with
   .,
   .)




   5      -
   6            And by the way,

   7      -
   8
   9            We talked a little bit                     And my first
  10      question.
  II

  12      -           Did TikTok actually do that?
  13            Mr. Grover .
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  16            Jonathan , do you have any --
  17            ODNI.    I am just looking here.
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                ODNI.   Yeah.
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                  Mr. Obernolte.
                                    -All right.      Also. you testified earlier
                                                                                        170




   J       that with th e situ ati on in
                                                           -          ·


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                  Okay.    -So this comes down to something t hat wasn ' t said
           today but was said in one of the other c l ass i fied briefings,
   9•     tha t we think that t here is a - -
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  15              Mr. Obernolte.     So, I mean. thi s is the probl em that I
  16      have.
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  18      -               Did I mi sunderstand?
  19              Mr. Newman.     As one who was there at the previous
  20      briefing, I th ink what was said is
  21

  21
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                                                                                           171




          3



          5           Mr. Obernol te.    Sure.

          6           Mr. Newman.
          7

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          9           ODNI.
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        15            Mr . Obernolte .   Okay.   Last question.        Mr. Newman , we
        16      hav e been discuss i ng this issue of divestiture.          And in
        17      answering every question. you have made -the assumption that
        18      there would actually be a divestiture.
        19            And let me challenge that a l i t t le bit, bec ause if the
        20      premi se here is that the CCP wou ld intervene and force
        11      ByteDance to do some t hing aga in s t their commercial inte r ests
        22      in, for example. influencing content in a way that benefits
        23      the CCP. I mean, th at i s no t good for ByteDance.          It is good
                for the CCP.
                      What makes you thin k the CCP would allow ByteDance to



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                                                                                           172



           di vest ?    Because if your goal is to disrupt domestic af fa irs
   ,       in th is coun t ry, i t wou ld be much be t ter for them to take
   3       TikTok offline, ri ght ?     We wou l d have protests. 170 mi llion
   ~       young people upset a t gover nment taki ng away thei r rights.
   5       You know . why i sn' t that -- why isn't t hat something the CCP
   6       would do?
   7             Mr . Newman .   I think the CCP would face some very hard
   8       choices i f this bi l l became law becaus e both answers are bad
   9       fo r them.
  10             I think if the app is sold, i t takes awa y something that
  11       is a late nt threat tha t they can exp lo it in th e future.               I
  12       think if the app is not sold and it is no longe r able to
  13       ope r ate in the Unit ed States. then t hat could become a model
  14       for even more countries to join the United States and India
  15       and others in taking action agai nst what is one of the most
  16       successful pr oducts that the Chinese Go vernme nt is selling in
  17       the so r t of vi rtual ecosystem.       So the y would face ha rd
  18      choi ces.
  19             Whe n Huawei , f or example , was the subje ct of a ve r y
  20       longstanding U.S.-led campaign to remo ve i t from the telecom
  21       infr as truct ur e ·i n th e Uni ted Stat es and elsewh ere, the
  22      Chinese Government responded but in a r eason ably measured and
          calibrat ed way, beca use they have other irons on the f ir e and
  24       the y didn ' t want to use all of thei r capital on trying t o
                             .               .                       .
          r esu sci tat e Hu awei or signal how strongly they wer e
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                                                                                      173



           interes t ed in see i ng Huawei survive in the Uni te d States.
   1            Mr . Obernol te .   Okay.     Well. I am out of time .       I wou l d
   3       l ook more into if that I were you . because if it is only a
   ~       ma t ter of money, I think the CCP might say. you know what.
   5       this disruption that we have cau sed i s worth the loss of the

   6       money that we would gain in di vestitur e.
   7            Anyway, I yield back. Madam Cha i r .
   8            The Cha i r.   Thank you.
   9            Mr. Ne wman.    Thank you .
                The Chair.     The ge nt leman yields back.
  II            I ask unanimous consent to in sert i n the record the
  12       documents included on the s taff hearing documen t s l i st.
  13            Without ob jection. s o o r dered.
  14            (The i nformation follows:]
  15

  16       ******** COMMITTEE INSERT ** **** **
  17

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                                                                                     174



                   The Chair.     I remind the members that they have 10
        1     business days to submit questions for th e r ecord, and I ask
        3     the witnesses to respond to the questions promptly.
        4          Membe rs should submit their questions by close of
        5     business on March 21st. 2024.     However, I remind members and
        6     witnesses that today ' s hearing was a classified exe cuti ve
        7     session.   Because we transmit our question s for the record by
        8     email, members sho uld not disclose sensitiv e information in
        9     their que stions.   And I recommend that you not ask the
    10        witnesses for information t ha t may be sensitive.        Likewise, I
    11        ask the witnesses not to prov i de sensitive in fo rmation in
    12        the i r responses to any questions for the record.
   13              Without objection , t he committee is adjourned ..
   14              [Wh ere upon, at 2:05 p.m., the committee was adjourned.]
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